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                                   #: 11




                     Exhibit A-1
      Case 2:24-cv-02061-NGG-JMW               Document 1-1           Filed 03/20/24          Page 2 of 115 PageID
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                                                               h:X-Zÿkuÿv-w1:+xÿp;yuÿ                        hmoqfÿ
cÿ        bcdeedebecÿ   mrr*zmt*Kÿioÿmrr*ohmK*i0ÿ*0ÿfgkkioKÿir mssW1:W+ÿW+ÿfMMÿsÿmMMVWQ:W+ÿ bbaÿ    nmoo*fÿlpp
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                                                               v-w1:+ÿ                                         hmoqfÿ
ÿ        bcdeedebecÿ   p|n*v*K}f~                             p.XW2WÿvÿUÿ-WsWQ:-ÿsÿ+s1WLÿ bbaÿ      nmoo*fÿlpp
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ÿ        bcdeedebecÿ   p|n*v*K}f~                             p.XW2WÿÿUÿ-WsWQ:-ÿsÿ,ÿf:+,W+w bbaÿ    nmoo*fÿlpp
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aaÿ       b{dacdebecÿ   p|n*v*K}f~                             0WQ-ÿsÿo-1Y:VÿrWV-,ÿW+ÿgfÿzW;WQ ÿ         qo*fKp0ÿou
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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF SUFFOLK                                                          Index No.:
           -----------------------------------------------------------------------X
           DEAN NASCA and MICHELLE NASCA, as Administrators                           SUMMONS
           of the Estate of CHASE NASCA, DEAN NASCA, and
           MICHELLE NASCA, individually,                                              JURY TRIAL DEMANDED

                                Plaintiffs,                                           Plaintiff designates
                                                                                      SUFFOLK COUNTY
                    -against-                                                         as the place of trial

           BYTEDANCE LTD.; BYTEDANCE, INC.; TIKTOK,                                   The Basis of the Venue is
           INC.; METROPOLITAN TRANSPORTATION                                          Plaintiff’s Residence
           AUTHORITY; MTA LONG ISLAND RAILROAD,
           LONG ISLAND RAILROAD and the TOWN OF ISLIP,

                                 Defendants.
           -----------------------------------------------------------------------X


                TO THE ABOVE-NAMED DEFENDANTS:                             YOU     ARE         HEREBY
                SUMMONED to answer the Complaint in this Action and to serve a copy of your
                Answer, or, if the Complaint is not served with this Summons, to serve a Notice of
                Appearance on the Plaintiffs’ attorneys within twenty (20) days after this service of this
                Summons, exclusive of the day of service (or within thirty (30) days after the service is
                completed if this Summons is not personally delivered to you within the State of New
                York); and in the case of your failure to Appear or Answer, judgment will be taken against
                you by default for the relief demanded in the Complaint.

                Dated: New York, New York
                       March 21, 2023


                 BELLUCK & FOX, LLP                      SOCIAL MEDIA VICTIMS LAW CENTER PLLC
                 Attorneys for Plaintiff                 Matthew P. Bergman
                 546 Fifth Avenue ∙ 5th Floor            Laura Marquez-Garrett
                 New York, NY 10036                      Glenn S. Draper
                 (212) 681-1575                          821 Second Avenue, Suite 2100
                 By:                                     Seattle, WA 98104
                                                         (206) 741-4862
                                                         (Pro Hac Vice admission pending)
                 Harris Marks


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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF SUFFOLK
           ----------------------------------------------------------------------X
           DEAN NASCA and MICHELLE NASCA, as
           Administrators of the Estate of CHASE NASCA, DEAN
           NASCA, and MICHELLE NASCA, individually,

                                         Plaintiffs,                                 VERIFIED COMPLAINT

                    -against-
                                                                                     Index No.:
           BYTEDANCE LTD.; BYTEDANCE, INC.; TIKTOK,
           INC.; METROPOLITAN TRANSPORTATION
           AUTHORITY; MTA LONG ISLAND RAILROAD,
           LONG ISLAND RAILROAD and the TOWN OF
           ISLIP,
                                          Defendants.
           ----------------------------------------------------------------------X


                        Plaintiffs, above named, by their attorneys, BELLUCK & FOX and SOCIAL

                MEDIA VICTIMS LAW CENTER for their Complaint against the defendants, allege:

                        In these digital public spaces, which are privately owned and tend to be
                        run for profit, there can be tension between what’s best for the
                        technology company and what’s best for the individual user or for
                        society. Business models are often built around maximizing user
                        engagement as opposed to safeguarding users’ health and ensuring that
                        users engage with one another in safe and healthy ways. . . . Technology
                        companies must step up and take responsibility for creating a safe digital
                        environment for children and youth. Today, most companies are not
                        transparent about the impact of their products, which prevents parents
                        and young people from making informed decisions and researchers from
                        identifying problems and solutions.
                Protecting Youth Mental Health, The U.S. Surgeon General’s Advisory (December 7, 2021)
                        1.       Plaintiffs Dean Nasca and Michelle Nasca bring this action for wrongful
                death, negligence, and survivorship against ByteDance LTD., ByteDance, Inc., TikTok,
                Inc. (collectively, “TikTok” or “TikTok Defendants”), Metropolitan Transportation
                Authority (“MTA”), and MTA Long Island Railroad (“MTA LIRR”), LONG ISLAND


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              RAILROAD (collectively, the “MTA Defendants”) and the Town of Islip for the death
              of 16-year-old Chase Nasca and allege as follows:
                     2.      This lawsuit seeks to hold the TikTok Defendants responsible for directly
              causing the mental condition and the resulting death of Chase Nasca who died at the age
              of 16 after being targeted, overwhelmed, and actively goaded and encouraged by
              TikTok’s content delivery and recommendation products, programming decisions, and
              content to which TikTok itself actively and materially contributed and encouraged for its
              own economic gain. This lawsuit further seeks to hold the MTA Defendants and Town
              of Islip responsible for creating a serious and foreseeable risk of harm to the plaintiff
              which led to his death.
                     3.      The TikTok Defendants are engaging in a pattern and practice of
              deceiving the American public through false representations and assurances as to the
              safety and security of its TikTok social media product. The TikTok Defendants its
              product to product to promote and instill familiarity and trust among its youngest users,
              then utilizes extended use design mechanics and mechanisms to addict those same minor
              users in a manner the TikTok Defendants know to be harmful to their health and well-
              being. At best, the TikTok Defendants make these engineered addiction-by-design and
              programming decisions to push young Americans into maximizing their engagement
              with the TikTok product by any means necessary; at worst, is the TikTok Defendants
              operate in a manner that intends or recklessly disregards the catastrophic harms it is
              inflicting on children in the United States.
                     4.      As only recently discovered, the TikTok Defendants have chosen to
              design, distribute, market, and operate TikTok in the United States in a manner that
              contrasts starkly with the product it distributes to children in China – which is where
              TikTok originated and still currently operates from, despite representations to the U.S.
              Government to the contrary.

                     In [China’s] version of TikTok, if you’re under 14 years old, they show
                     you science experiments you can do at home, museum exhibits,


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                         patriotism videos and educational videos. And they also limit it to only
                         40 minutes per day. Now they don’t ship that version of TikTok to the
                         rest of the world. So it’s almost like they recognize that technology’s
                         influencing kids’ development, and they make their domestic version a
                         spinach version of TikTok, while they ship the opium version to the rest
                         of the world.

                         The version served to the west has kids hooked for hours at a time. The
                         impact, Tristan Harris says, is predictable.

                         Tristan Harris: There’s a survey of preteens in the U.S. and China asking,
                         “What is the most aspirational career that you want to have?” And the
                         U.S. the number one was “Influencer.”

                         Bill Whitaker: Social media influencer.

                         Tristan Harris: And in China, the number one was “Astronaut.” Again,
                         you allow those two societies to play out for a few generations, I can tell
                         you what your world is going to look like. 1
                         5.      In the United States, TikTok claims that its proprietary algorithm is “a
              recommendation system that delivers content to each user that is likely to be of interest
              to that particular user...each person’s feed is unique and tailored to that specific
              individual.” In other words, TikTok claims to individually curate and identify videos it
              believes will be of interest to its users. Except that TikTok is not making
              recommendations to U.S. children; it is directing vulnerable youth to the subject matters
              TikTok selects, whether they want to see that content or not; and it is selecting content
              that in many cases, they do not actually want to see.
                         6.      The TikTok Defendants know that violent, dangerous, extreme, and
              psychologically disturbing content triggers a greater dopamine response in minors than
              safe and benign content. To maximize user engagement and increase profits, TikTok
              creates and co-creates such content and deliberately targets children in the United States
              with violent, dangerous, extreme, and psychologically disturbing content from which
              they cannot look away.



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                  https://www.cbsnews.com/news/social-media-political-polarization-60-minutes-2022-11-06/


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                     7.     For years, the TikTok Defendants have had actual knowledge that it is
              designing and distributing its product in the United States in a manner that is dangerous
              and harmful to U.S. minors but has actively concealed these facts from the United States
              public and government regulators and failed to warn parents about harms known only
              to TikTok for TikTok’s own economic gain. TikTok is goading American children into
              self-harm and suicide and is profiting at their expense, but more to the point, TikTok
              knows exactly what it is doing. Plaintiffs’ claims arise from TikTok’s own content
              creation, as well as its product features and designs as TikTok has chosen to operate
              them in the United States, including but not limited to the recommendation and
              connection features designed and programmed by TikTok to prioritize engagement,
              profits, and possibly, harm to U.S. children over the health and well-being of TikTok’s
              minor users in the United States.
                     8.     Chase Nasca did not open or use a TikTok account to search for violent,
              inciting, and depressing videos and connections, as evidenced by, among other things,
              his own searches for uplifting and motivational content – which articulated interests
              TikTok quite literally ignored. At all times relevant, the TikTok Defendants had actual
              knowledge of Chase’s age and vulnerabilities, including his desire to stop seeing the
              thousands of horrific videos – many of which TikTok collaborated on and/or
              encouraged – TikTok continued flooding to his For You Page several hours every day.
              Despite this knowledge, TikTok chose to keep goading and encouraging him to either
              harm others or take his own life until, ultimately, Chase chose to take his own life.
                     9.     Some of the videos TikTok directed to Chase suggested that young people
              should end their lives by stepping in front of a moving train. Shortly after receiving one
              such video, Chase accessed tracks for the Long Island Railroad near his home. The MTA
              Defendants and Town of Islip had affirmatively decided not to fence this section of
              track, despite the fact that they were aware that many other people had previously been
              struck by trains at or near this location. Chase was struck by the train and killed on



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               February 18, 2022.
                      10.     TikTok as currently designed and operated in the United States poses a
               clear and present danger children and families, and Plaintiffs are one of thousands if not
               millions who have been harmed by what TikTok is doing.
                                          PARTIES AND JURISDICTION
                      11.     That at the time of this accident that occurred February 18, 2022, which
               resulted in his death, and at all times hereinafter mentioned, the decedent plaintiff, Chase
               Nasca, was a resident of Suffolk County in the State of New York
                      12.     Plaintiffs Dean Nasca and Michelle Nasca are and were residents of
               Suffolk County in the State of New York
                      13.     Plaintiffs have not entered into any User Agreements or other contractual
               relationships with Defendant TikTok in connection with Chase’s use of the TikTok
               social media product. As such, in prosecuting this action Plaintiffs are not bound by any
               arbitration, forum selection, choice of law, or class action waiver set forth in said User
               Agreements. Additionally, Plaintiffs expressly disaffirm all User Agreements with
               Defendants into which their son may have entered into as minor.
                      14.     Defendant ByteDance Ltd. is a Chinese internet technology company
               headquartered in Beijing and incorporated in the Cayman Islands. ByteDance Ltd. owns
               operates and controls Defendants ByteDance, Inc. and TikTok, Inc. ByteDance Ltd.
               designed the unreasonably dangerous TikTok social media platform with the intention
               of promoting it to United States users including New York citizens. ByteDance Ltd. has
               purposefully availed itself of New York law by transacting business in this State, profits
               from TikTok’s activities in the State of New York and Plaintiffs’ allegations that Chase
               Nasca died from ByteDance Ltd.’s unreasonably dangerous design of TikTok arise out
               of and relate to its purposeful availment. New York’s assertion of personal jurisdiction
               over ByteDance Ltd is therefore fully consistent with historic notions of fair play and
               substantial justice.



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                      15.     One Percent of ByteDance Ltd. is owned by the Chinese Government and
               a Chinese Government official serves on the ByteDance Ltd Board of Directors.
               ByteDance Ltd. has a strategic partnership with the Chinese Ministry of Public Security.
               TikTok captures vast swaths of information from its users, including Internet and other
               network activity information such as location data and browsing and search histories.
               ByteDance Ltd. admits that its personnel outside the United States can access
               information from American TikTok users including public videos and comments. On
               information and belief ByteDance Ltd. also has access to United States TikTok users’
               private information.
                      16.     Defendant ByteDance, Inc. is a Delaware corporation with its principal
               place of business in Mountain View, CA. Defendant ByteDance owns and/or operates
               TikTok, Inc., and owns and/or operates the TikTok social media platform, an
               application that is widely marketed by TikTok and available to users throughout the
               United States and in New York. ByteDance Inc. has purposefully availed itself of New
               York law by transacting business in this State, profits from TikTok’s activities in the State
               of New York and Plaintiffs’ allegations that Chase Nasca died from the unreasonably
               dangerous design of TikTok arise out of and relate to its purposeful availment. New
               York’s assertion of personal jurisdiction over ByteDance Inc. is therefore fully consistent
               with historic notions of fair play and substantial justice.
                      17.     Defendant TikTok, Inc. is a California corporation with its principal place
               of business in Culver City, CA. Defendant TikTok owns and operates the TikTok social
               media platform, an application that is widely marketed by TikTok and available to users
               throughout the United States and in New York. TikTok Inc. has purposefully availed
               itself of New York law by transacting business in this State, profits from its activities in
               the State of New York and Plaintiffs’ allegations that Chase Nasca died from the
               unreasonably dangerous design of TikTok arise out of and relate to its purposeful
               availment. New York’s assertion of personal jurisdiction over TikTok Inc. is therefore



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               fully consistent with historic notions of fair play and substantial justice.
                      18.     At all times relevant hereto, Defendant TikTok Inc. was acting by and
               through its employees, servants, agents, workmen, and/or staff, all of whom were acting
               within the course and scope of their employment, for and on behalf of TikTok.
                      19.     At all times relevant hereto, Defendant ByteDance Inc. was acting by and
               through its employees, servants, agents, workmen, and/or staff, all of whom were acting
               within the course and scope of their employment, for and on behalf of ByteDance Inc.
                      20.     TikTok is highly integrated with its Chinese parent, ByteDance Ltd.
                      21.     TikTok’s engineering manager works on both TikTok and Byte Dance’s
               similar Chinese app, Douyin. TikTok’s development processes are closely intertwined
               with Douyin’s processes. TikTok employees and data systems are also deeply interwoven
               into Byte Dance’s ecosystem.
                      22.     That    at   all   times   hereinafter    mentioned      METROPOLITAN
               TRANSPORTATION AUTHORITY was and still is a municipal corporation, duly
               organized and existing pursuant to the laws of the State of New York.
                      23.     That at all times hereinafter mentioned MTA LONG ISLAND
               RAILROAD was and still is a municipal corporation, duly organized and existing
               pursuant to the laws of the State of New York.
                      24.     That at all times hereinafter mentioned LONG ISLAND RAILROAD
               was and still is a municipal corporation, duly organized and existing pursuant to the laws
               of the State of New York.
                      25.     That all times hereinafter mentioned the TOWN OF ISLIP was and is a
               municipal corporation duly organized and existing pursuant to the laws of the State of
               New York.
                      26.     That prior hereto and within the time prescribed by law, a sworn Notice
               of Claim, stating among other things, the time when and place where the injuries and
               damages were sustained, together with plaintiff’s demands for adjustment or payment



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               thereof, was served and that thereafter METROPOLITAN TRANSPORTATION
               AUTHORITY, MTA LONG ISLAND RAILROAD, and LONG ISLAND
               RAILROAD refused or neglected for more than 30 days and up to the commencement
               of this action to make any adjustment or payment thereof, and that thereafter, and within
               the time provide by law, this action was commenced.
                      27.    The MTA LIRR 50-h hearing of Dean Nasca took place on October 12,
               2022. Although present, the MTA LIRR chose not to depose Michelle Nasca. The MTA
               was served a notice of claim and did not request a 50-h hearing.
                      28.    That on July 7, 2022, pursuant to the General Municipal Law, a Statutory
               50-H hearing of the plaintiff was held.
                      29.    That prior hereto and within the time prescribed by law, a sworn Notice
               of Claim, stating among other things, the time when and place where the injuries and
               damages were sustained, together with plaintiff’s demands for adjustment or payment
               thereof, was served and that thereafter MTA Defendants, refused or neglected for more
               than 30 days and up to the commencement of this action to make any adjustment or
               payment thereof, and that thereafter, and within the time provide by law, this action was
               commenced.
                      30.    That on October 12, 2022, and January 10, 2023, pursuant to the General
               Municipal Law, a Statutory 50-H hearing of the plaintiffs were held.
                      31.    On July 7, 2022, the 50-h hearing of Dean Nasca occurred and on January
               10, 2023, the 50-h hearing of Michelle Nasca occurred, with regards to Defendant
               TOWN OF ISLIP.
                      32.    That prior hereto and within the time prescribed by law, a sworn Notice
               of Claim, stating among other things, the time when and place where the injuries and
               damages were sustained, together with plaintiff’s demands for adjustment or payment
               thereof, was served and that thereafter THE TOWN OF ISLIP, refused or neglected for
               more than 30 days and up to the commencement of this action to make any adjustment



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               or payment thereof, and that thereafter, and within the time provide by law, this action
               was commenced.
                       33.   Since complete diversity does not exist between plaintiffs and defendants,
               removal is precluded.
                       34.   The Tik Tok Defendants transact business in New York with New York
               residents.
                       35.   Plaintiffs’ claims set forth herein arise out of and relate to the Tik Tok
               Defendants’ activities in the State of New York,
                       36.   The Tik Tok Defendants have purposefully availed themselves of the
               benefit of transacting business in New York with New York residents.
                       37.   The Tik Tok Defendants advertise and encourages use of the TikTok
               product at issue in New York.
                       38.   The Tik Tok Defendants have employees and physical offices in New
               York.
                       39.   The Tik Tok Defendants enter into millions of contracts with New York
               residents, including as relating to use of the TikTok social media product.
                       40.   The Tik Tok Defendants distribute the TikTok social media product to
               overwhelming percentages of New York children, teens, and young adults.
                       41.   The Tik Tok Defendants generate and send emails and other
               communications to New York residents, including Chase Nasca.
                       42.   The Tik Tok Defendants design and distributes push notifications,
               recommendations, and other communications to New York residents, aimed at
               encouraging addiction and use of the TikTok social media product, as TikTok did here.
                       43.   The Tik Tok Defendants actively and extensively collect personal
               information, including location related information, belonging to New York residents,
               including Chase Nasca.
                       44.   The Tik Tok Defendants generates substantial revenue from New York



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               activities that dwarfs what most New York-based businesses generate.
                      45.     The Tik Tok Defendants continue to interact with New York residents or
               use of their TikTok social media product, because the revenue they obtain because of
               New York users and having users in New York is significant.
                     46.      Decedent plaintiff, acquired, used, and received communications from the
               Tik Tok Defendants and the TikTok product, in the State of New York
                                                        FACTS
               A.     TikTok Social Media Product
                      47.     TikTok is known as a video-sharing app, where users can create, share,
               and view short video clips, and is highly integrated with ByteDance Ltd.
                      48.     Known in China as Doujin, TikTok hosts a variety of short-form user
               videos, from genres like pranks, stunts, tricks, jokes, dance, and entertainment with
               durations from 15 seconds to ten minutes. TikTok is the international version of Doujin,
               which was originally released in the Chinese market in September 2016.
                      49.     In 2017, TikTok was launched for iOS and Android in most markets
               outside of mainland China; however, it became available worldwide only after merging
               with another Chinese social media service, Musical.ly, on August 2, 2018.
                      50.     Users on TikTok who open the TikTok application are automatically
               shown an endless stream of videos selected by ByteDance Ltd.’s technology to show
               content on each user’s For You Page (“FYP”) based upon each user’s demographics,
               likes, prior activity on the app, and other factors and data points known only to TikTok.
                      51.     ByteDance exclusively controls and operates the TikTok platform for
               profit, which creates advertising revenue through maximizing the amount of time users
               spend on the platform and their level of engagement. The greater the amount of time
               that young users spend on TikTok, the greater the advertising revenue TikTok earns.
                      52.     While TikTok purports to have a minimum age requirement of 13-years-
               old, it does little to verify user age or enforce its age limitations despite knowledge that



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               underage use is pervasive. Underage TikTok users often post videos of themselves in
               which they clearly are not old enough to be using the TikTok social media product. On
               information and belief, TikTok’s sophisticated algorithms can identify when a user has
               crooked teeth or a crack in their bedroom wall, so there is little question that those same
               algorithms can identify underage children in posted videos. But also, TikTok has actual
               knowledge of underage users.
                       53.     For example, in July 2020, TikTok reported that more than a third of its
               49 million daily users in the United States were 14 years old or younger. And while some
               of those users were 13 or 14, at least one former employee reported that TikTok had
               actual knowledge of children even younger based on videos posted on the TikTok
               platform – yet failed to promptly take down those videos or close those accounts. 2 In
               fact, TikTok regularly knows or should know of underage users with accounts and who
               post videos on its platform, whether because of its technologies, viewing by TikTok
               employees, and/or flagging by other TikTok users. In many such instances, TikTok does
               not suspend the account, require age verification, or notify the underage user’s parents
               of such prohibited use. TikTok also has actual knowledge based on the thousands of
               user related data it collects and/or purchases from other websites and third parties.
                       54.     TikTok does not seek parental consent for underage users or provide
               warnings or adequate controls that would allow parents to monitor and limit the use of
               TikTok by their children. TikTok does not verify user age, enabling and encouraging
               teens and children to open TikTok accounts, providing any age they want, without
               parental knowledge or consent.
                       55.     Further, based on TikTok data leaked to the New York Times, internal
               TikTok documents show that the number of daily U.S. users in July of 2020 estimated
               by TikTok to be 14 or young—18 million—was almost as large as the number of over-


               2
                Raymond Zhong & Sheera Frenkel, A Third of TikTok’s U.S. Users May Be 14 or Under, Raising Safety
               Questions, N.Y. Times, Aug. 14, 2020, available at https://www.nytimes.com/2020/08/14/technology/TikTok-
               underage-users-ftc.html


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               14 users, around 20 million. While the rest of TikTok’s U.S. users were classified as being
               “of unknown age.” 3
                          56.     Pew Research published in August 2022 identified TikTok as the second
               most popular app among U.S. teens ages 13 to 17, behind only YouTube, 4




               Millions of teens in the United States are using the TikTok product every, single day, and

               are being subjected by TikTok to significant risk of serious physical, mental, and

               emotional harm as a result.




               3
                   Id.
               4
                   https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-technology-2022/


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               B.     TikTok’s Business Model is Based on Maximizing User Engagement
                      57.    TikTok is a social media application which can be downloaded from
               Apple’s App Store and Google’s Google Play store. It is intended to be used on mobile
               devices but can also be accessed online at TikTok.com. According to the App Store,
               TikTok is intended for children “12+”.
                      58.    TikTok advertises its application as “free,” insofar as consumers do not
               pay money to download or use the product. However, TikTok makes its astronomical
               profits by targeting advertisements, harmful accounts, and TikTok created content to
               children and by finding unique and increasingly dangerous ways to keep those young
               users hooked on its social media product. TikTok receives revenue from advertisers who
               pay a premium to target advertisements to specific demographic groups of TikTok users
               including, and specifically, malleable U.S. users under the age of 18. TikTok also receives
               revenue from selling its U.S. users’ data, including data belonging to minors, to third
               parties.
                      59.    The amount of revenue TikTok receives is based upon the amount of time
               and user engagement on its platform, which directly correlates with the number of
               advertisements that can be shown to each user.
                      60.    TikTok is designed around a series of design features that do not add to
               the communication and communication utility of the application, but instead seek to
               exploit users’ susceptibility to persuasive design and unlimited accumulation of
               unpredictable and uncertain rewards, including “likes,” “followers” and “views.” In the
               hands of minors, this design is unreasonably dangerous to their mental well-being.
                      61.    According to industry insiders, TikTok has employed thousands of
               engineers to help make the TikTok product maximally addicting. For example, TikTok’s
               “pull to refresh” is based on how slot machines operate. It creates an endless feed,
               designed to manipulate brain chemistry and to prevent natural end points that would
               otherwise encourage users to move on to other activities.



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                        62.   TikTok does not warn minor users or their parents of the addictive design
               of the TikTok product. On the contrary, TikTok actively tries to conceal the dangerous
               and addictive nature of its product, lulling U.S. users and parents into a false sense of
               security. This includes consistently playing down its product’s negative effects on teens
               in public statements and advertising, making false or materially misleading statements
               concerning product safety, marketing TikTok as a family application that is fun and safe
               for all ages, and refusing to make its research public or available to academics or
               lawmakers who have asked for it.
                        63.   It was reasonably foreseeable to the TikTok Defendants that a significant
               number of its minor users would be injured by its decisions to pursue and implement
               “engineered addiction” as part of its social media product offerings; particularly since
               TikTok then marketed and distributed its product to millions of minors in the U.S. alone.
               For years, TikTok failed to warn users and their parents, and actively concealed the truth.
                        64.   The TikTok Defendants designed its TikTok product and its business
               model in a manner that promoted these harms to minor users in the United States and,
               as the designer of its product, was in a position to control any risk of harm to minor
               users.
               C.       The TikTok is a Product
                        65.   The TikTok application is a video sharing social media application where
               TikTok and its users create, share, and view short video clips. TikTok is the designer,
               provider, and sole distributor of the TikTok application.
                        66.   The TikTok Defendants distribute the TikTok application into the stream
               of commerce. In fact, the TikTok application has been downloaded more than 130
               million times in the U.S. and was ranked by Cloudflare in 2021 as the most popular
               website. “TikTok was the world’s most-visited website in 2021, overtaking YouTube in




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               US watch time and Facebook in app downloads for the first time.” 5
                       67.     The TikTok Defendants profit from the distribution of TikTok into the
               marketplace. The TikTok product creates advertising revenue through maximizing the
               amount of time users spend on the platform and their level of engagement. That is, the
               greater the amount of time that TikTok can keep young users on the TikTok product,
               the greater the advertising revenue that TikTok earns. TikTok has been wildly successful,
               with its revenue skyrocketing since the onset of the pandemic and only continuing to
               grow,




                       68.     TikTok also builds into the design of its product certain functions and
               features that addict users, particularly adolescents and young adults, causing them to
               spend as much time on the product as possible through advanced analytics and TikTok
               designed and programmed recommendation systems, tailored to each user’s interests and
               vulnerabilities – at least, this is how TikTok designs its product to function in the United
               States. TikTok as designed and distributed in China is very different from TikTok as
               designed and distributed in the United States and, presumably, other parts of the world.
               See,    e.g.,    https://www.cbsnews.com/news/social-media-political-polarization-60-


               5
                Emily Baker-White, Inside Project Texas, TikTok’s Big Answer To US Lawmakers’ China Fears, Buzzfeed,
               Mar. 10, 2022, https://www.buzzfeednews.com/article/emilybakerwhite/tiktok-project-texas-bytedance-user-
               data


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               minutes-2022-11-06/ (“the version that’s served to Chinese consumers, called Douyin,
               is very different from the one available in the west.”).
                      69.     In the United States, users on TikTok who open the TikTok application
               are automatically shown an endless stream of videos selected by a technology developed
               by the TikTok Defendants that identifies and automatically pushes TikTok and third
               party created content, paid advertisements, TikTok embedded content, and
               recommended connections to each user’s For You Page (“FYP”). The TikTok
               Defendants closely guard the secret of its algorithmic formulas, but those formulas are
               believed to be based on individual user demographics, likes, prior activity on the app, as
               well as trackers and other mechanisms TikTok embeds into the metadata of all videos
               and advertisements, and thousands of other data points known only to TikTok.
                      70.     TikTok’s algorithmic formulas are not designed to and do not operate in
               the same way traditional internet algorithms operate. For example, only, traditional
               internet algorithms operate based on user input, through which the end goal is achieved.
               These are user-driven algorithms, which typically do not cause the types of extreme
               harms TikTok’s algorithms cause for the simple reason that they are user driven – users
               decide what they want to see and search results are based on those expressed interests.
               In sharp contrast, TikTok’s social media algorithms are built around, start with, and
               operate based on TikTok’s programming of its ultimate goal first. TikTok’s algorithms
               are not based on and ultimately care very little about user input, instead prioritizing
               whatever TikTok programs them to prioritize – and it programs them in the United
               States to prioritize engagement, at the direct expense of user safety. TikTok’s algorithms
               then collect and use personal data to achieve the programmed goal. This is one reason
               why TikTok’s product is so dangerous to consumers.
                      71.     The TikTok Defendants market and design the TikTok social media
               product to be used by minors. They have spent millions of dollars researching and
               analyzing minor users to find ways to make its product more appealing and addictive to



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               this age group, which the TikTok Defendants see as the key to the long-term profitability
               and success.
                       72.      TikTok is known within the social media industry as a leader in recruiting
               and maintaining engagement of youth. Other major players study and emulate TikTok,
               seeking to attract minor users because minors are such a pliable and addictive – thus
               profitable – demographic. For instance, documents leaked by a whistleblower in 2021
               show Facebook and Instagram’s (now Meta) field research studying TikTok discuss why
               TikTok appeals to minors and reflecting TikTok’s efforts in that regard. It acknowledges
               that TikTok “alleviates boredom” and provides “altered-state fun.”




               See, e.g., https://www.businessinsider.com/leaked-docs-facebook-papers-instagram-
               competition-tiktok-youtube-snapchat-2021-12?op=1#whats-so-great-about-tiktok-one-
               slide-said-2. TikTok leans into this reputation, marketing itself as a fun and family-
               friendly app, 6 while it is anything but.
                       73.      The TikTok Defendants are aware that large numbers of children under


               6
                See, e.g., https://variety.com/2020/digital/news/tiktok-advertising-brand-campaign-sale-bytedance-
               1234738607/ (TikTok launched its biggest ad campaign to date in the U.S. in August 2020).


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               the age of 13 use the TikTok product and that large numbers of children under the age
               of 18 use TikTok without parental consent. TikTok is designed in a manner that allows
               and/or does not prevent such use. The TikTok Defendants also are aware that their
               designs and programming decisions are causing incredible physical, mental, and
               emotional harms to a significant number of its minor users but has made the business
               decision to stay the course in order to maximize engagement and revenue.
               D.     ByteDance Ltd Designed TikTok to Promote Problematic Use in Young
                      Users
                      74.      ByteDance Ltd. designs its TikTok product to promote problematic use
               in young users, ranging from its extended use mechanics and product features (discussed
               in more detail above) to its programming of connection and promotion technologies (at
               least as programmed in the United States) in manner it intends to have the effect of cause
               young users to spend as much time on the application as possible.
                      75.      An internal TikTok document – titled “TikTok Algo 101” and created by
               ByteDance Ltd. Engineering team in Beijing – offers details about both the product’s
               mathematical core and insight into the company’s understanding of human nature. As
               explained in TikTok Algo 101, in the pursuit of TikTok’s “ultimate goal” of adding daily
               active users TikTok chose to optimize for two closely related metrics in the stream of
               videos it serves: “retention” — that is, whether a user comes back — and “time spent.”
                      76.      Likewise, a recent Wall Street Journal report revealed how TikTok relies
               heavily on how much time users spend watching each video to steer them toward more
               videos that will keep them scrolling, and that process can sometimes lead young U.S.
               viewers down dangerous rabbit holes, in particular, toward accounts that promote suicide
               or self-harm.
                      77.      Another article, by the New York Times, explained how TikTok markets
               itself as an “artificial intelligence company.” “The most obvious clue is right there when
               you open the app: the first thing you see isn’t a feed of your friends, but a page called



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               ‘For You.’ It’s an algorithmic feed based on videos you’ve interacted with, or even just
               watched. It never runs out of material. It is not, unless you train it to be, full of people
               you know, or things you’ve explicitly told it you want to see. It’s full of things that you
               seem to have demonstrated you want to watch, no matter what you actually say you want
               to watch … Imagine a version of Facebook that was able to fill your feed before you’d
               friended a single person. That’s TikTok.” 7
                      78.     On December 14, 2022, the Center for Countering Digital Hate (CCDH)
               published a report titled “Defective by Design,” which likewise concludes and illustrates
               the manner in which “TikTok pushes harmful content promoting eating disorders and
               self-harm into users’ feeds.” Attached hereto and incorporated herein as Exhibit A is a
               true and correct copy of “Defective by Design.” These defects are not about third-party
               content, but rather, TikTok’s design and programming decisions. TikTok is targeting and
               inundating minors with content meant to addict them to its product, at the direct and
               known expense of their health and well-being. And TikTok could make its product safer
               for those consumers without ever removing a single piece of content.
                      79.     This is further confirmed by the fact that ByteDance Ltd. has actually
               designed and is programming a safer TikTok product for children in China,

                      In [China’s] version of TikTok, if you’re under 14 years old, they show
                      you science experiments you can do at home, museum exhibits,
                      patriotism videos and educational videos. And they also limit it to only
                      40 minutes per day. Now they don’t ship that version of TikTok to the
                      rest of the world. So it’s almost like they recognize that technology’s
                      influencing kids’ development, and they make their domestic version a
                      spinach version of TikTok, while they ship the opium version to the rest
                      of the world.

                      80.     TikTok also encourages, helps create, features, and promotes various
               “challenges” where users film themselves engaging in behavior that mimics and “one



               7
                  John Herrman, How TikTok is Rewriting the World, N.Y. Times, Mar. 10, 2019, available at
               https://www.nytimes.com/2019/03/10/style/what-is-tik-tok.html


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               ups” other users posting videos related to a particular challenge. TikTok programs its
               systems to discourage safe challenges and encourage dangerous ones and amplifies those
               dangerous challenges primarily to the millions of children, teen, and young adult TikTok
               users, that is, those most vulnerable to such harms.
                      81.      TikTok not only helps create this content – from tutorials, to selecting and
               recommending theme-specific music, to outright asking certain users to post most
               content and telling them how to post it and where to post; it’s technologies also then
               determine the content that gets directed and/or populates its user experience on the
               TikTok social media product. This includes content sent directly from TikTok to its
               users, for TikTok’s own purposes, and prior to any sort of user search or request for
               such content. TikTok knows that its technologies are promoting and amplifying harmful
               content to children and teens and are operating with a degree of algorithmic
               discrimination that is particularly harmful to TikTok’s most vulnerable user groups.
                      82.      The TikTok Defendants designed and is operating the TikTok product in
               the United States with the goal of addicting young users at any cost, for its own benefit.
               TikTok prioritizes engagement over user safety in the U.S., and some examples of this
               include, but are not limited to:
                            a. TikTok has actual knowledge of underage U.S. users on its platform and
                               has chosen to not verify age or enforce its own age limitations even when
                               it knows or has reason to know of such unauthorized use.
                            b. TikTok does not seek parental consent for U.S. underage users or provide
                               any warnings or controls that would allow parents in the United States to
                               monitor and limit the use of TikTok by their children, despite its own
                               Terms of Service, which prohibit use of its product by persons under 18
                               without parental consent.
                            c. Until mid 2021, TikTok by default made all U.S. users’ profiles “public,”
                               meaning that strangers, often adults, could view and message underage



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                               users of the TikTok app.
                            d. TikTok collects information from its minor users in the U.S. and utilizes
                               extensive amounts of user, device, and other personal information to
                               target minor users in the U.S. in a manner that TikTok knows or should
                               know to be causing harm to a substantial number of its minor users in the
                               U.S.
               E.     TikTok is an Information Content Provider
                      83.      TikTok also is an information content provider, or ICP.
                      84.      TikTok becomes actively involved in the creation of certain content in a
               manner and to the degree of a material creator or co-creator. For example, if a TikTok
               video garners a specific threshold of views, TikTok then makes recommendations to
               enhance the video, reaches out to and actively engages with the user who posted (referred
               to by TikTok once that threshold is met as a “Creator” or more commonly referred to
               as an “Influencer”), and provides special tools, as well as recommendations, input as to
               content and structure, instructional videos, and other support and contributions to
               ensure and encourage further content development and success – translating to increased
               revenue for TikTok.
                      85.      When asked in March of 2022 how TikTok users get paid, TikTok’s CEO
               stated as follows,

                      The first is if you become if you have enough followers, certain brands will get in
                      touch with you, either through us [TikTok] or otherwise for you to represent the
                      brand … so that’s one way some of our creators get paid. Beyond that we have
                      provided them with tools to monetize, to get in touch with their followers, and
                      to monetize that as well.

                      86.      TikTok’s involvement at this point includes but is not limited to
               communications with creators prompting and asking them to GO LIVE, telling them
               what they should post and how they should post it (for example, coaching them through
               how to create a Story Time video and how specifically to structure those videos to leave



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               viewers in suspense so that they will keep viewing the series), which hashtags they should
               use to get more views, which songs are popular and song suggestions curated to the
               theme of the proposed post, and other collaborative tools and communications that
               TikTok uses to help create and amplify content TikTok believes (based on a user’s
               number of followers and past views) will make it money.
                       87.      TikTok obtains PayPal information from these Creators and sends them
               money daily, with communications and full-screen notifications urging them to post
               more and to post on multiple surfaces of the TikTok product. TikTok likewise promises
               these Creators that it will amplify their content and promotes them based solely on
               Creator status. For example, TikTok will provide a Creator with more than 100,000 views
               in the first 24-hours of a post no matter the content of their video and due to its
               determination (based on followers and views) that the Creator is likely to be profitable
               for TikTok.
                       88.      These are not passive or unsubstantial contributions. They are meaningful
               and material contributions TikTok makes to the videos themselves, including themed
               based contributions and recommendations which, ultimately and based on how TikTok
               serves up harmful content to minors, causes harms in and of itself.
                       89.      TikTok also has entered into multiple contracts with third parties to enable
               TikTok’s use of such content, because of the degree to which TikTok is involved in
               content creation. For example, In November 2020, TikTok announced a new agreement
               with Sony Music Entertainment to make songs available across the TikTok app 8; in
               December 2020, TikTok announced another such agreement with Warner Music Group
               “WMG” 9; and in February of 2021, TikTok announced a “global” licensing agreement



               8
                https://newsroom.tiktok.com/en-us/tiktok-announces-agreement-with-sony-music-entertainment
               9
                https://www.musicbusinessworldwide.com/warner-music-group-inks-licensing-deal-with-tiktok/; see also
               https://hitsdailydouble.com/news&id=324524&title=WARNER-TIKTOK-AGREE-TO-NEW-LICENSING-
               DEAL (Former WMG executives Ole Obermann and Tracy Gardner recently joined TikTok to oversee global
               music development; Gardner now holds the title of Head of Label Licensing & Partnerships at TikTok., while
               Obermann is TikTok’s Global Head of Music).


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               with Universal Music Group (UMG). 10 Michael Nash, Executive Vice President of
               Digital Strategy at UMG, reported on the UMG deal that,
                          UMG and TikTok will now work more closely than ever to promote
                          ambitious experimentation, innovation and collaboration — with the
                          shared objective of developing new music experiences and features. 11

                          90.     TikTok materially encourages, develops, and contributes to Creator
               and/or Influencer videos – including but not limited to suggesting specific songs to
               match video theme, including videos depicting suicide, violence, and/or self-harm – and
               has obtained licensing agreements to protect TikTok itself from potential copyright
               infringement liability. Such liability would not be a matter of concern for TikTok, but for
               the degree to which it has knowledge of and is involved in creation of the videos featuring
               that music in the first place.
                          91.     In its Terms of Service (“Last updated: February 2019”) TikTok also
               requires that all users license to TikTok an unconditional, irrevocable royalty-free, fully
               transferable, perpetual worldwide license to use, modify, adapt, reproduce, publish,
               transmit all material submitted by Users onto TikTok. TikTok further requires that all
               users waive any rights to inspect or approve their material being used for marketing or
               promotional materials. Further, they require that users waive any and all rights of privacy,
               publicity. TikTok requires that all users grant TikTok total control over the material that’s
               published – including the right to cut, crop, and edit. Through this licensing provision,
               TikTok effectively becomes the legal owner of its users’ content.
                         92.      Third, TikTok modifies third-party content to make it its own in
               significant and material ways. On information and belief, all TikTok content and
               associated metadata is modified to include tracking systems, and every time the content
               is viewed, tracking codes and other data are downloaded to the device and information


               10
                    https://www.musicbusinessworldwide.com/tiktok-and-universal-music-group-sign-global-licensing-deal/
               11
                  https://www.musicbusinessworldwide.com/tiktok-and-universal-music-group-sign-global-
               licensing-deal/



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               is actively relayed to TikTok’s server.
                     93.      TikTok is doing, on a practical level, is piecing apart the third-party
               content and embedding its own content to track what each user does, in combination
               with tens of thousands of personal data points it buys, sells, and collects on each user, to
               then serve users its own content. But for TikTok’s content, the viewer might spend ten
               minutes viewing the blender post and move on, instead, the viewer spends three hours
               engaged with the TikTok product – and the two hours and fifty minutes that the viewer
               did not want or intend to spend is time spent consuming TikTok’s content. TikTok’s
               content is the content that is harming TikTok users, and harmed Chase Nasca.
               F.     The TikTok Defendants Design Complex Recommendation Technologies
                      to Lock-In Young Users
                     94.      TikTok is (at least as designed and distributed to users in the United States)
               is intentionally designed to maximize users’ engagement and screen time. The
               architecture and coding underlying its design features are expressly intended to exploit
               human psychology and driven by the most advanced computer and artificial intelligence.
                      95.     The TikTok product is designed and progressively modified to promote
               excessive use in the U.S. that it knows is intended to addict its users.
                      96.     One of these features present in TikTok is its feed feature designed to
               match users with other users’ accounts, accounts that TikTok assesses will keep that
               original user scrolling. No two individuals are matched with the same accounts. Its
               recommendation feature matches users with an unlimited and never ending “feed” that
               TikTok determines specifically for that person. TikTok is well-aware that its feed design
               and programming decisions promote unlimited “scrolling”—a type of use that studies
               have identified as detrimental to users’ mental health – however, TikTok maintains this
               harmful product feature as it allows TikTok to display more advertisements and, thus,
               obtain more revenue.
                      97.     Often the most violent, high risk, psychologically harmful and cruel



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               accounts are promoted by TikTok to U.S. teens in their feeds, because this material draws
               young users in and increases their engagement.
                        98.    Users do not control what accounts their feed matches them with – that
               is controlled entirely by TikTok.
                        99.    The addictive nature of TikTok’s product and the complex and
               psychologically manipulative design of its product is hidden and unknown to ordinary
               users.
                        100.   At the same time, TikTok is designed with unique product features
               designed to limit parents’ ability to monitor and prevent problematic use by minors.
                        101.   It was reasonably foreseeable and/or known to the TikTok Defendants
               that a significant number of its minor users would be injured by their design and
               programming decisions to prioritize engagement and revenue over user safety;
               particularly given their decision to then market and distribute its product to millions of
               minors in the U.S. alone. It was not only reasonably foreseeable, but the TikTok
               Defendants had had had actual knowledge of the harms its product is causing among
               minors in the United States for years.
                        102.   In December of 2021, for example, the Wall Street Journal published an
               article about TikTok and how it sends kids in the U.S. down dangerous rabbit holes. The
               Article is titled “‘The Corpse Bridge Diet’: How TikTok Inundates Teens With Eating-
               Disorder Videos.” See https://www.wsj.com/articles/how-tiktok-inundates-teens-with-
               eating-disorder-videos-11639754848 (“TikTok is flooding teen users with videos of
               rapid-weight-loss competitions and ways to purge food that health professionals say
               contribute to a wave of eating-disorder cases spreading across the country.”). Like the
               harmful eating disorder accounts discussed in the article, TikTok uses the same
               underlying design and programming to match other users (including and predominantly
               teen boys) to violent and/or depressive suicide-promoting accounts.
                        103.   TikTok designed its product and its business model in a manner that



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               promoted these harms to minor users in the U.S. and, as the designer of its product, was
               in the exclusive position to control any risk of harm to these minor users.
               G.     Young Users’ Incomplete Brain Development Renders Them Particularly
                      Susceptible to TikTok’s Manipulative Product Design
                      104.   The human brain is still developing during adolescence in parallel to their
               psychosocial development. Specifically, adolescents’ brains are not yet fully developed in
               regions related to risk evaluation, emotional regulation, and impulse control.
                      105.   The frontal lobes - and in particular the prefrontal cortex - of the brain
               play an essential part in higher-order cognitive functions, impulse control, and executive
               decision- making. These regions of the brain are central to the process of planning and
               decision-making, including the evaluation of future consequences and the weighing of
               risk and reward. They are also essential to the ability to control emotions and inhibit
               impulses. MRI studies have shown that the prefrontal cortex is one of the last regions of
               the brain to mature.
                      106.   During childhood and adolescence, the brain is maturing in at least two
               major ways. First, the brain undergoes myelination, the process through which the neural
               pathways connecting different parts of the brain become insulated with white fatty tissue
               called myelin. Second, during childhood and adolescence, the brain is undergoing
               “pruning” – the paring away of unused synapses, leading to more efficient neural
               connections. Through myelination and pruning, the brain’s frontal lobes change to help
               the brain work faster and more efficiently, improving the “executive” functions of the
               frontal lobes, including impulse control and risk evaluation. This shift in the brain’s
               composition continues throughout adolescence and continues into young adulthood.
                      107.   In late adolescence, important aspects of brain maturation remain
               incomplete, particularly those involving the brain’s executive functions and the
               coordinated activity of regions involved in emotion and cognition. As such, the part of
               the brain that is critical for control of impulses and emotions and mature, considered



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               decision-making is still developing during adolescence, consistent with the demonstrated
               behavioral and psychosocial immaturity of juveniles.
                      108.   The recommendation features TikTok has designed and implemented in
               its social media product as distributed in the United States exploits minor users
               diminished decision-making capacity, impulse control, emotional maturity, and
               psychological resiliency caused by users’ incomplete brain development. TikTok knows
               that because its minor users’ frontal lobes are not fully developed, such users are much
               more likely to sustain serious physical and psychological harm through their social media
               use than adult users. Nevertheless, TikTok has failed to design the TikTok product as
               distributed in the United States with any protections to account for and ameliorate the
               psychosocial immaturity of its minor users. Instead, in the United States, TikTok exploits
               its young users’ immaturity, knowing they are susceptible to addiction and easily
               influenced by the peers and idols they see on TikTok.
               H.     The TikTok Defendants Misrepresent the Addictive Design and Effects of
                      their TikTok Product
                      109.   During the relevant time period, TikTok stated in public comments that
               the TikTok product is not addictive and was not designed to be addictive. TikTok knew
               or should have known that those statements were untrue.
                      110.   In fact, over the last several years, TikTok has made myriad false or
               materially misleading representations to the U.S. Government and American consumers
               to portray its product as fun, safe, and secure when, in fact, it knew or had reason to
               know of the terrible, even fatal, harms it was causing American children.
                      111.   For example, in January of 2020, ByteDance board member William “Bill”
               Ford – Chairman and CEO of the established and well-respected, American growth
               equity firm, General Atlantic – represented on TikTok’s behalf and on CNBC that




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               TikTok was careful in the way they built its product. 12

                       First of all, it’s a terrific company, ByteDance … they have been very careful how
                       they’ve built TikTok. It’s from the very first day been built outside the Chinese
                       fire wall with very, very careful curation around data privacy and community rule
                       sets. … They have built this in a way that is very different from some of the other
                       social media companies, and very cognizant about the sensitivity on data privacy.

                       112.     In January of 2023, Bill Ford appeared again on CNBC, in a video titled
               “ByteDance board member: Fight against TikTok based on ‘misinformation and
               misunderstanding.’” 13 In 2023, TikTok represented,
                       We’re up to over 90 million daily active users … we’ve been engaged
                       with the U.S. government and national security agencies since the review
                       started in 2020 … All of our data is in the Oracle cloud already. We’ve
                       taken these concerns very seriously … I can say, as of today, our data is
                       in the clean cloud and it’s safe and secure … I think there’s a lot of
                       misinformation and misunderstanding about ByteDance and TikTok,
                       and as I’ve said, we’ve taken all the concerns seriously, we’ve stayed
                       engaged with the national security agencies … and the data’s safe, the
                       data’s been safe, and the algorithm is being reviewed by Oracle.

                      113.      On March 3, 2022 – just 12 days after Chase took his own life – TikTok
                           CEO, Shouzi “Shou” Chew represented on the David Rubenstein Show that, 14
                       One of the most important things that I have been focusing on since I
                       took on the role [of TikTok CEO] nearly a year ago is on the safety of
                       our platform. This is something we take absolutely seriously, and we
                       have elevated this as a top priority for myself and for the company. We
                       put a significant amount of investment into it. And we believe that we
                       need to continue to invest in Trust and Safety to stay ahead of our
                       growth, because of the growth of the platform. So for example, making
                       sure that our community guidelines which are published transparently
                       online are well understood by users, making sure that we have the tools



               12
                  https://www.cnbc.com/video/2020/01/21/william-ford-private-equity-investing-squawk-box-davos-
               interview.html, starting at 2:34.
               13
                  https://www.cnbc.com/video/2023/01/17/bytedance-board-member-fight-against-tiktok-based-on-
               misinformation-and-misunderstanding.html
               14
                  See, e.g., https://www.bloomberg.com/news/audio/2022-03-03/david-rubenstein-talks-to-shouzi-chew-
               podcast, audio version starting at 1:42; see also https://www.bloomberg.com/news/videos/2022-03-03/the-
               david-rubenstein-show-tiktok-ceo-shouzi-chew-video, video version starting at 2:10. Responding to question
               of how TikTok handles the situation when someone posts something dangerous, pornographic, or not
               appropriate.


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                        and the capabilities to ensure a safe environment, a safe and inclusive
                        environment on our platform …

                        114.     The TikTok CEO also reported that many users say TikTok is “a breath
               of fresh air … the sunny corner of the internet.” Id. He represented that “The original
               product has evolved over time [but] one thing that has remained very consistent for
               ByteDance is the mission. The mission for ByteDance today is to inspire creativity and
               to enrich lives.” Id.
                        115.     For years, TikTok has targeted children and teens. It runs campaigns
               featuring teens, and with tag lines like “Family Impressions,” “Familia Latina,” and
               “TikTok Taught Me.” Its commercials, advertising, and public statements also provide
               no warnings of the dangers of its product, instead, depicting TikTok as a fun, safe, and
               family-friendly social media app, 15




                        116.     In October of 2021, TikTok assured members of the U.S. Congress, while
               testifying under oath, that it does not give information the Chinese government and has



               15
                 See, e.g., https://tinuiti.com/blog/marketing-news-covid-19/tiktok-covid-19/ (“In order to ensure families
               can enjoy the app in safety, TikTok updated it with much-needed family safety controls like tighter
               restrictions on Direct Messaging for minors and better content filters”);
               https://pugetstaffing.filevineapp.com/docwebviewer/view/132085545 (TikTok’s YouTube advertising,
               captured August 5 2022), as compared to https://www.forbes.com/sites/alexandralevine/2022/11/11/tiktok-
               private-csam-child-sexual-abuse-material/?sh=3ee644f83ad9 (new information on the dangers of TikTok,
               released November 14, 2022 by Forbes).


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               sought to safeguard U.S. data. 16 TikTok’s head of public policy for the Americas, Michael
               Beckerman, testified that “We do not share information with the Chinese government,”
               and that TikTok as “no affiliation” with Beijing ByteDance Technology. In June of 2022,
               however, leaked audio from more than 80 internal TikTok meetings, which include 14
               statements from nine separate TikTok employees revealed that ByteDance Ltd. engineers
               in China had access to U.S. data from between September 2021 and January 2022 – the
               time frames directly at issue in this case – at a minimum. 17 To be clear, September or
               October of 2021 is when the TikTok technologies TikTok used in connection with
               Chase’s account began to change, targeting him with extremely violent, harmful, and
               suicidal content.
                       117.     TikTok did not warn users or their parents of the addictive and mentally
               harmful effects that the use of its product was known to cause amongst minor users, like
               Chase Nasca. It also did not warn users or their parents of the control the Chinese
               government and/or companies ultimately under the control of the Chinese government
               continued to exercise over its systems and data – the data belonging to and, ultimately,
               used by TikTok against minors like Chase Nasca to their detriment.
                       118.     In written testimony submitted to the U.S. Congress on September 14,
               2022, TikTok’s COO, Vanessa Pappas, once again characterized TikTok as a fun and
               safe app. She made representations about TikTok’s enforcement of its community
               guidelines, the use of human moderations, and its primary goal of creating a “welcoming
               and safe space for entertainment.” In fact, however, TikTok was not enforcing its
               community guidelines. It was co-creating incredibly violent and harmful content and
               programming its systems consistently to direct such harmful and extreme content to
               children, like Chase Nasca.
                       119.     TikTok did not let one or two, or even a dozen, extreme and deadly videos


               16
                  https://www.reuters.com/technology/tiktok-tells-us-lawmakers-it-does-not-give-information-chinas-
               government-2021-10-26/
               17
                  https://appleinsider.com/articles/22/06/18/tiktok-staff-in-china-allegedly-accessed-us-user-data


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               slip through its alleged technologies and safeguards. It identified, directed, promoted,
               and aimed tens of thousands of these extreme and deadline videos to 16-year-old Chase
               Nasca. These were videos advocating violence against others, self-harm, and suicide,
               replete with TikTok’s own chosen and/or recommended soundtracks, and content that
               would inevitably cause serious psychological harm to its young user, and thousands of
               other U.S. children like him. TikTok programmed its systems to aim these videos at
               Chase even when he asked to see uplifting and motivational content, because TikTok
               prioritized its efforts to force him to keep watching over his life and the life of others.
               TikTok and its leadership knew that their product was operating in this manner, because
               of their design and programming decisions, and stayed the course regardless – and
               continued in their misrepresentations to tens of millions of Americans and the U.S.
               Government.
                      120.   TikTok has gone to significant lengths to conceal and/or avoid disclosure
               as to the true nature of the TikTok social media product and, had it been forthcoming
               at any point, millions of children would not have had unfettered access to the TikTok
               product and/or millions of American families – including the Nasca family – could and
               would have taken steps to protect their children from the harms the TikTok product was
               causing.
               I.     Plaintiffs Expressly Disclaim Any and All Claims Seeking to Hold TikTok
                      Defendants Liable as the Publisher or Speaker of Any Content Provided,
                      Posted or Created by Third Parties
                      121.   Plaintiffs seek to hold TikTok accountable for its own alleged acts and
               omissions. Plaintiffs’ claims arise from TikTok’s status as designers and marketers of a
               dangerously defective social media product, as well as TikTok’s own statements and
               actions, and are not based on TikTok as the speaker or publisher of third-party content.
               TikTok’s underlying design, programming, and engineering of its platform were and are
               inherently and purposely defective, which forms a predicate for the claims asserted



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               against it.
                       122.   The TikTok Defendants also failed to warn minor users and their parents
               of known dangers arising from anticipated use of the TikTok social media product. These
               dangers, which are unknown to ordinary consumers, do not arise from third-party
               content contained on the TikTok social media product, but rather, from TikTok’s
               product designs, programming, and operational decision, including technologies
               programmed to affirmatively match young U.S. users to harmful accounts based on their
               individualized demographic data, social media activity, and tens of thousands of personal
               data points bought, sold, and otherwise collected by TikTok.
                       123.   Plaintiffs’ claims seek to hold the TikTok Defendants accountable for
               TikTok’s own, operations, conduct, and product -- not for the speech of others or for
               their content moderation decisions.
                      124.    TikTok could manifestly fulfill its legal duty to design a reasonably safe
               social media product and furnish adequate warnings of foreseeable dangers arising out
               of the use of TikTok’s product without altering, deleting, or modifying the content of a
               single third-party post or communication.
                                    PLAINTIFF-SPECIFIC ALLEGATIONS




                       125.   Chase Kai’ea Nasca was born on 2005. Chase was a smart and outgoing



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               child. He excelled at school, was athletic and participated in competitive sports; Chase was close
               to his family and a large circle of friends. Chase had no history of anxiety or depression, had
               a supportive family, involved parents, and close friends, and in late 2021, was accepted
               to the Olympic Development Program soccer team his third year trying out.
                       126.    Chase showed no outward signs of depression at any time.
                       127.    Chase got his first cell phone when he was in 6th grade, after moving to
               middle school and so his parents could reach him if needed. To his parents’ knowledge,
               Chase did not open a TikTok account at first; though they cannot be certain as TikTok
               does not verify age or require parental consent and distributes its product to minors
               without safeguards. If Chase opened a TikTok account before 2020, he did so without
               his parents’ knowledge.
                       128.    Sometime around 2019 or 2020, Chase’s parents became generally aware
               that Chase was using TikTok. Dean and Michelle Nasca knew very little about TikTok,
               except that it appeared to be aimed at kids and families and marketed itself as offering
               silly dance videos that were all the rage. They did not consent to Chase opening a TikTok
               account, but also had no reason to think that the TikTok product was defective or
               dangerous in any way.
                       129.    Chase’s use of the TikTok social media product resulted in a silent but
               severe decline in his mental health. Unbeknownst to Plaintiffs, the TikTok product’s
               FYP feature (as programmed and controlled by TikTok itself) began matching Chase to
               incredible amounts of highly depressive, violent, self-harm, and suicide themed accounts.
               His TikTok took a dark turn sometime around October of 2021, at which point these
               inherently dangerous and harmful accounts comprised most if not all the content that
               TikTok was matching to and selecting for Chase.
                       130.    TikTok directed Chase to adult accounts which offered depressing and
               violent material a minor should not have been allowed to see. These accounts were co-
               creating content with TikTok, including TikTok suggesting dark, suicide themed songs



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               they could use to make their videos more impactful as well as trending hashtags they
               could add to ensure maximum amplification based on TikTok’s programming, and other
               material contributions.
                      131.   TikTok identified and amplified an incredible number of dangerous and
               harmful accounts, creating binge periods for Chase where he was inundated with videos
               and clips of suicide, hopelessness, and self-harm. TikTok began pushing to 16-year-old
               Chase a continuous stream of violent, hopeless, and suicide-themed videos. TikTok
               selected these videos for Chase even though he was searching for things like,
                                          Bench Press Tips (December 16, 2021)
                                           Kitchen Hacks (December 29, 2021)
                                         BoJack Horseman Edits (January 1, 2022)
                                   Attack on Titan Opening Song (January 9, 2022)
                                    Trae Young Best Moments (January 28, 2022)
                                          Motivational Speech (February 5, 2022)
                                           Gym Motivation (February 10, 2022)
                                                         Batman
                      132.   There is no way to recreate every horrific video TikTok selected for and
               sent to Chase (as per TikTok’s design). However, Chase bookmarked more than 2,500
               videos in his TikTok account, and those can tell us what he was searching for and what
               TikTok was sending him unsolicited. As recent as October 2022, more than eight months
               after his death, TikTok was still flooding Chase’s FYP with unsolicited suicide videos.
                      133.   Chase’s parents accessed his TikTok account after his death and the
               following is just a tiny sampling of screenshots taken from the thousands of videos
               TikTok sent to Chase during the last three weeks of his life and from what TikTok is still
               sending to his For You page each time the account is accessed.




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                 On Saturday, February 5, 2022, Chase Searched for “Motivational Speech”




                 And on February 5, 2022, TikTok decided that he might also “want” these,




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                      134.    These are just a small handful of the thousands of dangerous and
               inappropriate accounts TikTok was flooding to Chase’s account in the days before he
               took his life, all in an attempt to increase his level of engagement.
                      135.    TikTok was making these programming decisions and deluging Chase
               with violent and suicide themed videos, despite the fact that he was actively searching
               for topics like “Motivational Speech” and “Gym Motivation” on February 5 and 10,
               2022, respectively. The TikTok defendants knew or should have known that Chase was
               engaged in harmful use of their product, that their decision to send him thousands of
               extreme and harmful videos was negatively impacting his mental health, and moreover,
               based on Chase’s own searches, TikTok knew or should have known that he was looking
               for the opposite content from what TikTok was serving him and that TikTok was
               pushing him over the edge.
                      136.    TikTok, through a product it had convinced Chase to trust and see as safe,
               continued to flood Chase – a minor – with content he was not interested in and did not
               want to see. TikTok acted, at best, with reckless disregard for the horrific and foreseeable


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               consequences its design and programming decisions would have, and Chase died a result.
                      137.   On Friday, February 18, 2022, Chase went to the gym and worked out,
               then stopped at the train tracks on his way home.
                      138.   This section of track is and adjacent land is owned, maintained and
               controlled by the MTA defendants and the Town of Islip. Despite the fact that many
               other individuals had been struck by trains at or near this location, the MTA defendants
               and Town if Islip affirmatively decided not to fence this location.
                      139.   At approximately 6:35 pm, Chase Nasca entered the train tracks at the
               uncompleted fence line at the intersection of Railroad Street and Fairview Avenue in
               Bayport, New York, and was struck and killed by an MTA Defendants’ train.
                      140.   Chase messaged his friend on Snapchat, “I can’t do it anymore,” and was
               struck by a moving train.




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                      141.   Plaintiffs never signed or gave consent for TikTok to furnish its product
               to their son, much less for it to direct thousands of harmful videos to him. While they
               had become generally aware that he was using TikTok, they believed, based on TikTok’s
               misleading marketing-and Chase’s lack of outward signs of depression-- that it was age-
               appropriate and safe for kids based on what they had heard and seen. Chase’s parents
               did not know and had no reason to think that TikTok was directing deadly accounts to
               their son; and they would never have allowed it in their home and/or would have taken
               steps to actively prohibit it had TikTok been honest about its technologies, product
               design, and dangers.
                      142.   By late 2021, Chase had become locked into the TikTok social media
               product, as TikTok intended, causing him to spend more and more time using and
               exposing himself to the harmful accounts TikTok was selecting and aiming at him to
               keep him using the product. Chase was being inundated with material from accounts like
               the images above, and TikTok was the only one who knew what it was doing.
                      143.   On the evening of February 18, 2022, Chase Nasca was hit and killed by
               an oncoming train. He died directly and solely, or at a minimum substantially, by the
               TikTok design and engineering conduct and algorithms that led to his development of
               severe depression, aided and abetted by the negligent conduct of the MTA Defendants
               and the Town of Islip all of while collectively and individually constituting a proximate
               cause of his injuries and death.
                      144.   TikTok did not just send Chase a few disturbing videos; it sent thousands
               over several months and hours every day. The TikTok Defendants knew or should have
               known that he was a minor, that he did not want, need, or even like the content it chose
               for him (including because of his searches), that he was addicted to the platform and
               thus could not stop using it, and that by its very engineering design, it was goading Chase
               into harming himself or others.
                      145.   TikTok did not send this child the content it thought he wanted, but the



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               content from which it thought he could not look away.
                      146.   Chase did not die because TikTok allowed suicidal content to be posted
               to its platform or because it failed to adequately monitor or remove such content. He
               died because of the TikTok Defendants decisions in the design, programming, and
               continued operation of TikTok’s technologies (things like metrics, data input, and
               operation speed) in the products TikTok distributes to U.S. teens.
                      147.   But for these design, engineering, and programming decisions made by
               TikTok, Chase Nasca’s injuries and death would not have occurred.
                      148.   In deciding to prioritize minor engagement over user safety, the TikTok
               Defendants made a calculated business decisions and, in the United States, chose profit
               over human life, despite knowing that its choices are goading some young users into
               violence, self-harm, and suicide.
                      149.   In fact, TikTok is still sending this content to Chase’s account. On October
               30 and 31, 2022 – more than eight months after Chase’s death – Plaintiffs accessed
               Chase’s TikTok account and recorded the types of videos TikTok is still sending to his
               For You page. Plaintiffs did not ask for these videos, did not enter search terms, and did
               not like or otherwise interact with the videos – TikTok simply keeps sending them,




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                      150.    The disturbing and harmful impact of these images are amplified when
               viewing the videos, which include content and music TikTok created and/or
               recommended.
                      151.    But for TikTok’s failure to conduct reasonable verification of age and
               identity, and/or obtain parental consent, and TikTok’s failure to warn, Chase would not
               have been exposed to TikTok’s inherently dangerous and defective features and designs.
                      152.    But for TikTok’s decision to promote, push, and match Chase to accounts
               containing excessive and unacceptably harmful videos, influencing him and encouraging
               him to engage in self-harm, and causing and materially contributing to mental health
               harms, Chase would not have died at the age of 16.
                      153.    This tragedy and the unimaginable suffering endured by Chase was entirely
               preventable had TikTok not ignored the health and safety of its users, particularly
               children in the United States using its product, in an effort to rake in greater profits.
                      154.    As a direct and proximate result of TikTok’s unreasonably dangerous


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               product, failures to warn, and negligence, which resulted in Chase’s death, Chase’s
               beneficiaries have in the past and will in the future continue to suffer great pecuniary
               loss, including, but not limited to, loss of support, loss of aid, loss of services, loss of
               companionship, loss of consortium and comfort, loss of counseling, and loss of
               guidance.
                      155.    As a direct and proximate result of TikTok’s unreasonably dangerous
               product, failure to warn, and negligence Plaintiffs claim all damages suffered by the
               Estate of Chase Nasca and his wrongful death beneficiaries by reason of his death,
               including, without limiting the generality thereof, the following: the severe injuries to
               Chase which resulted in his death; the anxiety, horror, fear of impending death, mental
               disturbance, pain, suffering, and other intangible losses which Chase suffered prior to
               his death; the loss of future earning capacity suffered by Chase from the date of his death
               until the time in the future that he would have lived had he not died as a result of the
               injuries he sustained; and the loss and total limitation and deprivation of his normal
               activities, pursuits and pleasures from the date of his death until such time in the future
               as he would have lived had he not died as a result of the injuries sustained by reason of
               TikTok’s carelessness, negligence, gross negligence, recklessness, strict liability, failure to
               warn, and defective design.
                      156.    As a direct and proximate result of TikTok’s unreasonably dangerous
               product, failure to warn, and negligence, combined with the railroad defendants’ and
               Town of Islip’s decision to not fence this area or take other precautions to prevent access
               to the area, Plaintiffs have been forced to suffer the death and loss of their 16-year-old
               son.
                      157.    Chase is survived by his mother Michelle, his father Dean, and his older
               brothers Cade and Derian. All four have suffered and continue to suffer incredible
               emotional harm from Defendants’ actions.




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                                  AND AS FOR THE FIRST CAUSE OF ACTION
                                 STRICT PRODUCT LIABILITY (Design Defect)
                                           (Against the TikTok Defendants)
                      158.      Plaintiffs reallege each of the allegations in the preceding paragraphs as if
               fully set forth herein.
                      159.      Under Restatement (Second) of Torts § 402(a)and New York Law one
               who sells any product in a defective condition unreasonably dangerous to the user is
               subject to liability for physical harm thereby caused to the user if (a) the seller is engaged
               in the business of selling such a product, and (b) it is expected to and does reach the user
               or consumer without substantial change in the condition which it was sold.
                     160.       The TikTok product as designed and distributed to users in the United
               States is defective because the foreseeable risks of harm posed by the product’s design
               could have been reduced or avoided by the adoption of a reasonable alternative design
               by TikTok and the omission of the alternative design renders the product not reasonably
               safe. These defective conditions rendered the product unreasonably dangerous to
               persons or property and existed at the time the product left TikTok’s control, reached
               the user or consumer without substantial change in the condition and its defective
               condition was a cause of Plaintiffs’ injuries.
                      161.      The TikTok Defendants deliberately designed, manufactured, marketed,
               and sold social media products that were knowingly unreasonably dangerous because
               they were designed to be addictive to the minor users to whom TikTok actively marketed
               and because, by the very nature of the design, engineering, and programming of the
               platform, the foreseeable use of TikTok’s product causes and/or exacerbates mental and
               physical harm to minor users.
                      162.      The inherent defect in the design, engineering, and programming of
               TikTok were known to TikTok Defendants at the time of its manufacture and ongoing
               modifications.



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                      163.   A reasonable person would conclude that the utility of TikTok did not
               outweigh the risk inherent in marketing a product designed in that manner, particularly
               as to the risks posed to minor children like Chase.
                      164.   A high probability existed that, as designed, TikTok posed a likelihood of
               causing injury to minors.
                      165.   A safer design and programming exists by which minor users would not
               be inundated with self-harm content, but TikTok chose to ignore or disregard it, or
               purposefully chose to implement and maintain its defective design to attain higher
               profits.
                      166.   As a minor, Chase had in no instance the ability to discern TikTok’s
               potential for injury, addiction, and mental changes. Defendant TikTok’s products were
               unreasonably dangerous because they contained numerous design characteristics that are
               not necessary for the utility provided to the user but are unreasonably dangerous and
               implemented by TikTok solely to increase the profits it derives from each additional user
               and the length of time it can keep each user dependent on its product.
               A.     Inadequate Safeguards from Harmful and Exploitative Accounts
                      167.   TikTok is defectively designed.
                      168.   As designed and distributed in the United States, TikTok’s
               recommendation and other product features are not reasonably safe because they
               affirmatively direct minor users to harmful and inappropriate accounts while failing to
               deploy feasible safeguards to protect vulnerable teens from such harmful exposures. It
               is feasible to design a social media product that substantially distinguishes between
               harmful and innocuous users and protects minor users from being exposed to harmful
               users without altering, modifying, or deleting any third-party content posted on TikTok’s
               social media product. It is likewise feasible to design a social media product that does
               not operate recommendation features at all and/or operates them in a manner that
               prioritizes user safety over engagement and revenue to TikTok. The cost of designing



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               and/or programming these products to incorporate these safeguards would be negligible
               while benefit would be high in terms of reducing the quantum of mental and physical
               harm sustained by minor users and their families.
                      169.    The TikTok Defendants know that these product features cause a
               significant number of harms to their minor users, such as encouragement of self-harm
               and suicide, and death.
                      170.    Reasonable users and their parents would not expect that Defendant
               TikTok’s products would knowingly expose them to such harmful accounts and/or
               would direct them to harmful accounts at all, much less in the manipulative and coercive
               manner that they do.
               B.     Inadequate Parental Control and Monitoring
                      171.    TikTok is defectively designed.
                      172.    Defendant TikTok has intentionally designed its TikTok product to
               frustrate the exercise of parental responsibility by its minor users’ parents. Parents have
               a right to monitor their children’s social media activity to protect them from harm.
               TikTok has designed a product that makes it difficult, if not impossible, for parents to
               exercise parental responsibility.
                      173.    It is feasible to design a social media product that requires parental consent
               for users under the age of 18.
                      174.    Defendant TikTok’s products are also defective for lack of parental
               controls, permission, and monitoring capability available on many other devices and
               applications, and lack of notifications to parents when minors are engaged in inherently
               harmful activities.
                      175.    TikTok is designed with specific product features intended to prevent
               and/or interfere with parents’ reasonable and lawful exercise of parental control,
               permission, and monitoring capability available on many other devices and applications.




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               C.     Design of Addictive Social Media Products
                      176.    TikTok is defectively designed.
                      177.    As designed, the TikTok social media product is addictive to minor users.
               Addiction is not restricted to substance abuse disorders. Rather, the working definition
               of addiction promulgated in the seminal article Addictive behaviors: Etiology and
               Treatment published by the American Psychological Association in its 1988 Annual
               Review of Psychology defines addiction as,

                      a repetitive habit pattern that increases the risk of disease and/or associate
                      personal and social problems. Addictive behaviors are often experienced
                      subjectively as ‘loss of control’ – the behavior contrives to occur despite
                      volitional attempts to abstain or moderate use. These habit patterns are typically
                      characterized by immediate gratification (short term reward), often coupled
                      with delayed deleterious effects (long term costs). Attempts to change an
                      addictive behavior (via treatment or self-initiation) are typically marked with
                      high relapse rate.
                      178.    Addiction researchers agree that addiction involves six core components:
               (1) salience—the activity dominates thinking and behavior; (2) mood modification—the
               activity modifies/improves mood; (3) tolerance—increasing amounts of the activity are
               required to achieve previous effects; (4) withdrawal—the occurrence of unpleasant
               feelings when the activity is discontinued or suddenly reduced; (5) conflict—the activity
               causes conflicts in relationships, in work/education, and other activities; and (6)
               relapse—a tendency to revert to earlier patterns of the activity after abstinence or control.
                      179.    Social media addiction has emerged as a problem of global concern, with
               researchers all over the world conducting studies to evaluate how pervasive the problem
               is. Addictive social media use is manifested when a user (1) becomes preoccupied by
               social media (salience); (2) uses social media in order to reduce negative feelings (mood
               modification); (3) gradually uses social media more and more in order to get the same
               pleasure from it (tolerance/craving); (4) suffers distress if prohibited from using social
               media (withdrawal); (5) sacrifices other obligations and/ or causes harm to other
               important life areas because of their social media use (conflict/functional impairment);
               and (6) seeks to curtail their use of social media without success (relapse/loss of control).


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                      180.    The Bergen Facebook Addiction Scale (BFAS) was specifically developed
               by psychologists to assess subjects’ social media use using the aforementioned addiction
               criteria and is by far the most widely used measure of social media addiction. Originally
               designed for Facebook, BFAS has since been generalized to all social media. BFAS has
               been translated into dozens of languages, including Chinese, and is used by researchers
               throughout the world to measure social media addiction.
                      181.    BFAS asks subjects to consider their social media usage with respect to
               the six following statements and answer either (1) very rarely, (2) rarely, (3) sometimes,
               (4) often, or (5) very often,
                      a.      You spend a lot of time thinking about social media or planning how to
                              use it.
                      b.      You feel an urge to use social media more and more.
                      c.      You use social media in order to forget about personal problems.
                      d.      You have tried to cut down on the use of social media without success.
                      e.      You become restless or troubled if you are prohibited from using social
                              media.
                      f.      You use social media so much that it has had a negative impact on your
                              job/studies.
               Subjects who score a “4” or “5” on at least 4 of those statements are deemed to suffer
               from social media addiction.
                      182.    Addictive use of social media by minors is psychologically and
               neurologically analogous to addiction to internet gaming disorder as described in the
               American Psychiatric Association’s 2013 Diagnostic and Statistical Manual of Mental
               Disorders (DSM-5), which is used by mental health professionals to diagnose mental
               disorders. Gaming addiction is a recognized mental health disorder by the World Health
               Organization and International Classification of Diseases and is functionally and
               psychologically equivalent to social media addiction. The diagnostic symptoms of social



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               media addiction among minors are the same as the symptoms of addictive gaming
               promulgated in DSM 5 and include,
                      a.     Preoccupation with social media and withdrawal symptoms (sadness,
                             anxiety, irritability) when device is taken away or not possible (sadness,
                             anxiety, irritability).
                      b.     Tolerance, the need to spend more time using social media to satisfy the
                             urge.
                      c.     Inability to reduce social media usages, unsuccessful attempts to quit
                             gaming.
                      d.     Giving up other activities, loss of interest in previously enjoyed activities
                             due to social media usage.
                      e.     Continuing to use social media despite problems.
                      f.     Deceiving family members or others about the amount of time spent on
                             social media.
                      g.     The use of social media to relieve negative moods, such as guilt or
                             hopelessness.
                      h.     and Jeopardized school or work performance or relationships due to social
                             media usage.
                      183.   TikTok’s advertising profits are directly tied to the quantity of its users’
               online time and engagement, and its product features are designed to maximize the time
               users spend using the product through product designs that addict them to the platform.
               Reasonable minor users and their parents do not expect that online social media
               platforms are psychologically and neurologically addictive.
                      184.   It is feasible to make the TikTok product not addictive to minor users by
               turning off or even simply slowing recommendation technologies, limiting the frequency
               and duration of access, and suspending service during sleeping hours. Designing software
               that limits the frequency and duration of minor users’ screen use and suspends service


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               during sleeping hours could be accomplished at negligible cost; whereas the benefit of
               minor users maintaining healthy sleep patterns would be a significant reduction in
               depression, attempted and completed suicide, and other forms self-harm among this
               vulnerable age cohort.
               D.     Inadequate Notification of Parents of Dangerous and Problematic Social
                      Media Usage by Minor Users
                      185.    TikTok is defectively designed.
                      186.    TikTok product is not reasonably safe as designed because it does not
               include any safeguards to notify users and their parents of usage that TikTok knows to
               be problematic and likely to cause negative mental health effects to users, including
               excessive passive use and use disruptive of normal sleep patterns or exposure to harmful
               amounts of inappropriate accounts.
                      187.    It is reasonable for young users and parents to expect that social media
               products that actively promote their platform to minors and young adults will undertake
               reasonable efforts to notify users and, in the case of minors, their parents when such use
               becomes excessive or harmful. It is feasible for TikTok to design a product that identifies
               a significant percentage of its youngest users who are using the product more than three
               hours per day or using it during sleeping hours or otherwise are being exposed to harmful
               accounts at negligible cost.
                      188.    Defendant TikTok’s product is not reasonably safe as designed because,
               despite numerous reported instances of TikTok directing harmful accounts to minors,
               TikTok has not undertaken reasonable design changes to protect its users from these
               harms, including changing its recommendation technologies programming, restricting its
               collection and/or use of personal information and data with regard to minor accounts,
               or notifying parents of such harmful accounts and problematic use by a minor user.
               TikTok’s failure to address these known defects and/or harms is incomprehensible.
                      189.    It is reasonable for parents to expect that platforms such as TikTok, which



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               actively promote their services to minors, will undertake reasonable efforts to protect
               such users from known harms, and implement technological safeguards to notify parents
               by text, email, or other reasonable means that their child is in danger.
                      190.    As a proximate result of these dangerous and defective design attributes
               of Defendant TikTok’s product, Chase Nasca suffered severe mental and physical harms,
               and death. Plaintiffs did not know, and in the exercise of reasonable diligence could not
               have known of these defective designs in TikTok’s product until after these harms had
               already occurred.
                      191.    As a result of these dangerous and defective design attributes of
               Defendant TikTok’s product, Plaintiffs suffered severe emotional distress, physical
               harms, and pecuniary hardship.
                      192.    The TikTok Defendants are further liable to Plaintiffs for punitive
               damages based upon the willful and wanton design of its product that was intentionally
               marketed and sold to underage users, whom it knew would be seriously harmed through
               their use of TikTok.
                                 AND AS FOR A SECOND CAUSE OF ACTION
                                STRICT PRODUCT LIABILITY (Failure to Warn)
                                         (Against the TikTok Defendants)
                      193.    Plaintiffs reallege each of the allegations in the preceding paragraphs as if
               fully set forth herein.
                      194.    The TikTok product is defective because of inadequate instructions or
               warnings because the foreseeable risks of harm posed by this product could have been
               reduced or avoided by the provision of reasonable instructions or warnings by the
               manufacturer and the omission of the instructions or warnings renders the product not
               reasonably safe. This defective condition rendered the product unreasonably dangerous
               to persons or property, existed at the time the product left TikTok’s control, reached the
               user or consumer without substantial change in the condition in which it was sold, and



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               were a cause of Plaintiffs’ injuries.
                      195.    TikTok is unreasonably dangerous and defective because it contains no
               adequate warning to minor users or parents regarding the addictive design and effects of
               TikTok or nature and design of TikTok’s harmful “for you” technologies, and the fact
               that TikTok purposefully channels and directs harmful and dangerous accounts to minor
               users as a means of increasing engagement.
                     196.     TikTok failed to warn users or parents that their children would be
               inundated with accounts creating extreme and harmful material, which TikTok selected
               and sent even when such account was not requested or wanted by the minor user.
                      197.    The magnitude of harm from exposure to the TikTok product is horrific,
               ranging from simple diversion from academic, athletic, and face-to-face socialization to
               sleep loss, severe depression, anxiety, self-harm, and suicide. Minors harmed by the
               TikTok product continue to use that product even when it is causing them harm, and
               because they do not have the experience, knowledge, or development to recognize such
               harms and/or feel like they do not have a choice due to the level of dependency the
               TikTok product creates in such minor users. TikTok has designed its product to be
               maximally addicting specifically to minors and young adults, for which TikTok also failed
               to provide warning of any kind.
                      198.    The TikTok Defendants had actual knowledge of these harms.
                      199.    TikTok is unreasonably dangerous because it lacks any warnings that
               foreseeable product use can disrupt healthy sleep patterns or specific warnings to parents
               when their child’s product usage exceeds healthy levels, involves material from harmful
               accounts, or occurs during sleep hours. Excessive screen time is harmful to adolescents’
               mental health and sleep patterns and emotional well-being. Reasonable and responsible
               parents are not able to accurately monitor their child’s screen time because most
               adolescents own or can obtain access to mobile devices and engage in social media use
               outside their parents’ presence.



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                      200.    It is feasible for TikTok to provide warnings and to make other product
               related modifications that would prevent many of these harms at negligible cost to
               TikTok.
                      201.    The TikTok Defendants knew about these harms, knew that its users and
               their parents would not be able to safely use the TikTok product without warnings, and
               failed to provide warnings that were adequate to make the product reasonably safe during
               ordinary and foreseeable use by children.
                      202.    As a result of The TikTok Defendant’s failure to warn, Chase Nasca
               suffered severe mental and physical harms due to his use of the TikTok product,
               including death.
                      203.    The failure to adequately warn was a proximate cause of Chase Nasca’s
               development of his mental condition, and his resulting death.
                      204.    As a result of TikTok Defendants’ failure to warn, Plaintiffs have suffered
               emotional distress and pecuniary hardship. TikTok Defendants are further liable to
               Plaintiffs for punitive damages based upon their willful and wanton failure to warn of
               known dangers of the TikTok product, which was deliberately marketed and sold to
               minor users, whom they knew would be seriously harmed through their use of TikTok.
                                  AND AS FOR A THIRD CAUSE OF ACTION
                                                   NEGLIGENCE
                                            (Against the TikTok Defendants)
                      205.    Plaintiffs reallege each of the allegations in the preceding paragraphs as if
               fully set forth herein.
                      206.    TikTok Defendants are responsible for the design, manufacture, and
               marketing of TikTok, and TikTok is a product.
                      207.    At all relevant times, the TikTok Defendants had a duty to exercise
               reasonable care and caution for the safety of individuals using its TikTok product,
               including Plaintiffs’ son.



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                      208.   TikTok Defendants owed a heightened duty of care to minor and young
               adult users of the TikTok product because adolescents’ brains are not fully developed
               which results in a diminished capacity to make responsible decisions regarding social
               media use, eschew self-destructive behaviors, and overcome emotional and psychological
               harm from negative and dangerous social media encounters.
                      209.   TikTok owed the children and young adults who visited its TikTok social
               media platform and from whom it derives billions of dollars per year in advertising
               revenue a duty of ordinary care substantially similar to that owed by physical business
               owners to its business invitees.
                      210.   TikTok Defendants were negligent, grossly negligent, reckless and/or
               careless in that it failed to exercise ordinary care and caution for the safety of those
               children and young adults to whom it provided the TikTok social media product –
               children and young adults like Chase Nasca. Defendants were negligent in failing to
               conduct adequate testing and failing to allow independent academic researchers to
               adequately study the effects of its products and levels of problematic use amongst minors
               and young adults. The TikTok defendants know that the TikTok product is harmful,
               capable of causing and do cause extensive mental and physical harms to TikTok’s
               youngest users, and that users are engaging in problematic, and addictive use that parent,
               in the case of minor users, and users themselves are helpless to monitor and prevent.
                      211.   The TikTok Defendants were negligent in failing to provide users and
               parents the tools to ensure their social media products are used in a limited and safe
               manner by underage users.
                      212.   TikTok Defendants easily could have but to this day have failed to
               implement safety measures that would mitigate, reduce, and/or eliminate the above-
               described harms, which the TikTok product causes to minor uses.
                      213.   As a direct and proximate result of the TikTok Defendants ‘negligence,
               Chase Nasca suffered severe mental harm from his use of the TikTok product, including



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               death.
                         214.   As a direct and proximate result of the TikTok Defendants ‘negligence,
               Plaintiffs suffered severe emotional distress and pecuniary hardship due to their son’s
               mental and physical harms resulting from use of the TikTok social media product, which
               harms were foreseeable by TikTok.
                         215.   The TikTok Defendants’ conduct was carried on with a willful and
               conscious disregard for the safety of Plaintiffs’ child and other minor users of the TikTok
               product. Defendants knew about the risks to minors associated with the TikTok product
               yet chose to ignore those risks, downplay any safety issues in public statements, conceal
               knowledge relating to its product and associated harms, fail to warn minors and their
               parents, and delay implementation of feasible product safety features. The TikTok
               Defendants’ decision to prioritize profits over children’s’ life, safety and health is
               outrageous and justifies an award of exemplary damages in such a sum that will serve to
               deter Defendant TikTok and other social media companies from similar conduct in the
               future.
                                  AND AS FOR A FOURTH CAUSE OF ACTION
                                                     NEGLIGENCE
                                           (Against the TikTok Defendants)
                         216.   Plaintiffs reallege each of the allegations in the preceding paragraphs as if
               fully set forth herein.
                         217.   TikTok Defendants are responsible for the design, manufacture, and
               marketing of TikTok and TikTok is a product.
                         218.   The TikTok Defendants knew or reasonably should have known that
               TikTok can be dangerous to pre-teens, teens, and young adults when used in its intended
               or reasonably foreseeable manner. Defendants also knew or reasonably should have
               known that ordinary users of TikTok, including pre-teens, teens, and young adults, would
               not appreciate those dangers.



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                        219.   As a product manufacturer marketing and selling products to consumers,
               the TikTok Defendants had a duty to exercise ordinary care in the manufacture,
               marketing, and sale of the TikTok product, including a duty to warn users and, in the
               case of minor users, to warn their parents about the many hazards that TikTok knew to
               be present, but not obvious.
                     220.      The Tik Tok Defendants breached their duty by failing to warn users or
               their parents of the safety risks presented by TikTok. TikTok has not posted and, to this
               day, still does not post any warnings that minors’ use of TikTok can lead to serious
               harms.
                        221.   TikTok does not post or display warnings that the TikTok product
               includes product features that are addictive and harmful, particularly to persons under
               26 years old; that TikTok collects and utilizes user data to make its product progressively
               more addictive; that TikTok has designed its product such that it makes parental
               supervision impossible; that TikTok is not suitable for children under 18 without parental
               supervision; or that TikTok has inadequate reporting mechanisms, and will not notify
               parents in the event that their child is engaging in harmful use of its social media product.
                        222.   A reasonable company in Defendants ‘position would have warned its
               minor users and their parents about TikTok’s safety risks and would have instituted
               safety measures years ago to protect its users from the known dangers created by its
               marketing decisions and product design.
                        223.   Tik Tok Defendants were negligent in failing to provide adequate
               warnings about the dangers associated with the use of its TikTok social media product
               and in failing to advise users and the general public (including parents) about how and
               when to safely use the TikTok product and features.
                        224.   As a direct and proximate result of the TikTok Defendants’ negligence,
               Chase Nasca suffered severe mental harm, including death.
                        225.   As a direct and proximate result of the TikTok Defendants’ negligence,



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               Plaintiffs suffered severe emotional distress and pecuniary hardship due to their child’s
               mental and physical harms resulting from use of the TikTok social media product, which
               harms were foreseeable by TikTok.
                      226.    The TikTok Defendants’ conduct was performed with a willful and
               conscious disregard for the safety of Plaintiffs’ child and other minor users of the TikTok
               product. Defendants knew or should have known about the risks to minors associated
               with the TikTok product. Yet the TikTok Defendants’ chose to ignore those risks,
               downplay any safety issues in public statements, conceal knowledge relating to its
               product and associated harms, fail to warn minors and their parents, and delay
               implementation of feasible product safety features. The TikTok Defendants’ decision to
               prioritize profits over children’s safety and health is outrageous and justifies an award of
               exemplary damages in such a sum that will serve to deter Defendant TikTok and other
               social media companies from similar conduct in the future.
                                   AND AS FOR A FIFTH CAUSE OF ACTION
                                                   NEGLIGENCE
                             (Against the MTA Defendants and the TOWN OF ISLIP)
                      227.    Plaintiffs reallege each of the allegations in the preceding paragraphs as if
               fully set forth herein.
                      228.    On     February   18,   2022,     and   at   all   times   relevant   herein,
               METROPOLITAN TRANSPORTATION AUTHORITY owned the railroad tracks,
               the area surrounding and adjacent to the railroad tracks, and the fence surrounding the
               area surrounding the railroad tracks adjacent to the intersection of Railroad Street and
               Fairview Avenue in Bayport, New York (“the Premises”)
                      229.    At all times relevant herein, METROPOLITAN TRANSPORTATION
               AUTHORITY owned the train which struck Chase Nasca. (“the Train”)
                      230.    On     February   18,   2022,     and   at   all   times   relevant   herein,
               METROPOLITAN TRANSPORTATION AUTHORITY operated the Premises and



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               the Train.
                      231.      On   February   18,   2022,    and   at   all   times   relevant   herein,
               METROPOLITAN TRANSPORTATION AUTHORITY maintained the Premises
               and the Train.
                      232.      On   February   18,   2022,    and   at   all   times   relevant   herein,
               METROPOLITAN TRANSPORTATION AUTHORITY controlled the Premises and
               the Train.
                      233.      On   February   18,   2022,    and   at   all   times   relevant   herein,
               METROPOLITAN TRANSPORTATION AUTHORITY inspected the Premises and
               the Train.
                      234.      On   February   18,   2022,    and   at   all   times   relevant   herein,
               METROPOLITAN TRANSPORTATION AUTHORITY repaired the Premises and
               the Train.
                      235.      On   February   18,   2022,    and   at   all   times   relevant   herein,
               METROPOLITAN TRANSPORTATION AUTHORITY managed the Premises and
               the Train.
                      236.      On   February   18,   2022,    and   at   all   times   relevant   herein,
               METROPOLITAN TRANSPORTATION AUTHORITY supervised the Premises
               and the Train.
                      237.      On   February   18,   2022,    and   at   all   times   relevant   herein,
               METROPOLITAN TRANSPORTATION AUTHORITY installed the Premises and
               the Train.
                      238.      On February 18, 2022, and at all times relevant herein, MTA LONG
               ISLAND RAILROAD owned the Premises and the Train.
                      239.      On February 18, 2022, and at all times relevant herein, MTA LONG
               ISLAND RAILROAD operated the Premises and the Train.
                      240.      On February 18, 2022, and at all times relevant herein, MTA LONG



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               ISLAND RAILROAD maintained the Premises and the Train.
                     241.   On February 18, 2022, and at all times relevant herein, MTA LONG
               ISLAND RAILROAD controlled the Premises and the Train.
                     242.   On February 18, 2022, and at all times relevant herein, MTA LONG
               ISLAND RAILROAD inspected the Premises and the Train.
                     243.   On February 18, 2022, and at all times relevant herein, MTA LONG
               ISLAND RAILROAD repaired the Premises and the Train.
                     244.   On February 18, 2022, and at all times relevant herein, MTA LONG
               ISLAND RAILROAD managed the Premises and the Train.
                     245.   On February 18, 2022, and at all times relevant herein, MTA LONG
               ISLAND RAILROAD supervised the Premises and the Train.
                     246.   On February 18, 2022, and at all times relevant herein, MTA LONG
               ISLAND RAILROAD installed the Premises and the Train.
                     247.   On February 18, 2022, and at all times relevant herein, LONG ISLAND
               RAILROAD owned the Premises and the Train.
                     248.   On February 18, 2022, and at all times relevant herein, LONG ISLAND
               RAILROAD operated the Premises and the Train.
                     249.   On February 18, 2022, and at all times relevant herein, LONG ISLAND
               RAILROAD maintained the Premises and the Train.
                     250.   On February 18, 2022, and at all times relevant herein, LONG ISLAND
               RAILROAD controlled the Premises and the Train.
                     251.   On February 18, 2022, and at all times relevant herein, LONG ISLAND
               RAILROAD inspected the Premises and the Train.
                     252.   On February 18, 2022, and at all times relevant herein, LONG ISLAND
               RAILROAD repaired the Premises and the Train.
                     253.   On February 18, 2022, and at all times relevant herein, LONG ISLAND
               RAILROAD managed the Premises and the Train.



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                      254.   On February 18, 2022, and at all times relevant herein, LONG ISLAND
               RAILROAD supervised the Premises and the Train.
                      255.   On February 18, 2022, and at all times relevant herein, LONG ISLAND
               RAILROAD installed the Premises and the Train.
                      256.   On February 18, 2022, and at all times relevant herein, THE TOWN OF
               ISLIP owned the Premises.
                      257.   On February 18, 2022, and at all times relevant herein, THE TOWN OF
               ISLIP operated the Premises.
                      258.   On February 18, 2022, and at all times relevant herein, THE TOWN OF
               ISLIP maintained the Premises.
                      259.   On February 18, 2022, and at all times relevant herein, THE TOWN OF
               ISLIP controlled the Premises.
                      260.   On February 18, 2022, and at all times relevant herein, THE TOWN OF
               ISLIP inspected the Premises.
                      261.   On February 18, 2022, and at all times relevant herein, THE TOWN OF
               ISLIP repaired the Premises.
                      262.   On February 18, 2022, and at all times relevant herein, THE TOWN OF
               ISLIP managed the Premises.
                      263.   On February 18, 2022, and at all times relevant herein, THE TOWN OF
               ISLIP supervised the Premises.
                      264.   On February 18, 2022, and at all times relevant herein, THE TOWN OF
               ISLIP installed the Premises.
                      265.   While at the Premises on February 18, 2022, Chase Nasca was struck by
               the MTA Defendants’ train near the intersection of Railroad and Fairview Avenues in
               the Town of Bayport causing severe personal injuries and resulted in his death.
                      266.   As illustrated below, the vast majority of the railroad tracks used by the
               MTA Defendants in and around the Town of Bayport are fenced off to prevent



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               individuals such as Chase Nasca from accessing the railroad tracks and being struck by
               trains.




                         267.   In contrast, as illustrated below, the railroad tracks adjoining Railroad and
               Fairview Avenues were unfenced thereby creating a dangerous condition.




                         268.   The dangerous condition created by the unfenced railroad tracks adjoining
               Fairview and Railroad Avenues was known to the MTA Defendants and the Town of


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               Islip prior to February 18, 2022. Over the last 20 years, at least 30 individuals have been
               struck and killed by trains within a half mile of the intersection of Fairview and Railroad
               Avenues in cases involving both suicide and accidental death. Prior to February 18, 2022,
               the Long Island Railroad’s risk management team looked into the unfenced condition of
               the land abutting the railroad tracks adjoining Fairview and Railroad Avenues and
               determined that extending fencing to this area would be too costly to justify the
               expenditure. Chase Nasca’s injury on the railroad tracks adjoining Fairview and Railroad
               Avenues was therefore foreseeable to the MTA Defendants and the Town of Islip.
                      269.    The above mentioned occurrence and results thereof were caused by the
               negligence, carelessness, and recklessness, of the MTA defendants and Town of Islip
               servants, agents, employees, and/or licensee in the operation, management,
               maintenance, control, construction, supervision, of the premises; in causing, allowing
               and permitting said Premises at the place above to become and remain for a period of
               time after notice, with both actual and constructive, in a dangerous and/or hazardous
               condition; in causing, allowing, and permitting a trap to exist at said location in causing
               allowing the Premises to be left unattended without a warning sign; in failing to erect and
               install fence; in failing to maintain the Premises in a reasonably safe and proper condition;
               in failing to have efficient and sufficient personnel; in permitting a dangerous condition
               to exist; in creating a trap, hazard, and a nuisance; in failing to barricade or cordon off
               the area; in making the condition worse; in failing to warn ; in failing to take the necessary
               steps at the premises from being in dangerous and hazardous condition; in negligence
               and careless causing and permitting the Premises to be and remain in said condition for
               an unreasonable length of time, resulting in a hazard for plaintiff and others; in failing to
               take suitable and proper precautions for the safety of personnel and in being otherwise
               negligent and careless.
                      270.    These actions and/or inactions by the MTA Defendants and the Town of
               Islip exacerbated the injuries and resulting death to Plaintiffs’ decedent.



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                      271.    But for these actions/or inactions by the MTA Defendants and the Town
               of Islip, the injuries and resulting death would not have occurred.
                      272.    That due to the reckless, careless, and negligence of the defendants by
               their agents, servants, and employees, decedent plaintiff Chase Nasca sustained serious
               and permanent personal injuries and substantial damages and ultimately died.
                      273.    The incident, injuries, damages, and death were caused by the deliberate
               indifference or gross negligence of the MTA Defendants and the TOWN OF ISLIP,
               without any fault on the part of the Plaintiffs or decedent.
                      274.    As a direct and proximate result of the MTA Defendants and the TOWN
               OF ISLIP’s negligence, Chase Nasca suffered severe injuries, including death.
                                     AS AND FOR A SIXTH CAUSE OF ACTION
                                            AGAINST ALL DEFENDANTS
                      275.    Plaintiffs reallege each of the allegations in the preceding paragraphs as if
               fully set forth herein.
                      276.    On February 18, 2022, decedent plaintiff, passed away at the age of sixteen
               as a result of his injuries that he sustained due to the negligence of the defendants.
                      277.    The decedent plaintiff, left surviving his next of him, was caused to sustain
               injuries which caused death by reasons of the actions of the defendants herein alleged,
               and was caused to sustain wrongful death as so defined and. pecuniary damages including
               loss of decedent’s support, inheritance, care and assistance; have incurred medical,
               funeral and other expenses; and have suffered the loss of decedent’s advice, guidance,
               counsel and consortium.
                      278.    That as a result of the negligence of defendants as aforesaid, the plaintiff
               Dean and Michelle Nasca, as the Administrator of the Estate of CHASE NASCA,
               deceased sustained damages in an amount exceeding the jurisdictional limits of all the
               Lower Courts.




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                                    AS AND FOR A SEVENTH CAUSE OF ACTION
                                              AGAINST ALL DEFENDANTS
                      279.      Plaintiffs reallege each of the allegations in the preceding paragraphs as if
               fully set forth herein.
                     280.       The above referenced occurrence caused decedent plaintiff, CHASE
               NASCA to sustain sever personal injuries, severe conscious pain, suffering and pre-
               impact terror which resulted in his death on February 18, 2022
                      281.      That as a result of the negligence acts of defendants, the decedent plaintiff,
               CHASE NASCA, sustained serious injuries and endured great pain, conscious pain and
               suffering which resulted in his death on February 18, 2022
                      282.      That as a result of the defendant’s negligence as aforesaid, the decedent
               plaintiff, CHASE NASCA, sustained conscious pain, suffering and pre-impact
               terror/death thereby sustaining damages in an amount exceeding the jurisdictional limits
               of all of the Lower Courts.
                                 AND AS FOR AN EIGHTH CAUSE OF ACTION
                                           (Against the TikTok Defendants)
                      283.      Plaintiffs repeat and reiterate the prior allegations of this complaint as if
               alleged more fully below.
                      284.      The decedent used TikTok primarily for personal use and thereby suffered
               ascertainable losses as a result of the Defendants’ actions in violation of the consumer
               protection laws of New York, including the N.Y. General Business Law § 349 & 350.
                      285.      Defendants’ unfair methods of competition or deceptive acts or practices
               that were proscribed by law and were oriented to consumers such as Plaintiff, include
               the following:
                            a. Representing that goods or services have characteristics, user benefits or
                                qualities that they do not have;
                            b. Advertising goods or services with the intent not to sell them as advertised;
                            c. Over-promotion of its platform, including but not limited to over-


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                              promotion of its safety and efficacy; and
                           d. Engaging in fraudulent or deceptive conduct that creates a likelihood of
                              confusion or misunderstanding.
                       286.   Defendants violated consumer protection laws through their use of false
               and misleading misrepresentations or omissions of material fact relating to the safety of
               TikTok.
                       287.   Defendants uniformly communicated the purported benefits of the
               TikTok while failing to disclose the serious and dangerous risk of direct mental harm to
               minors, and of the true state of the platform’s safety, efficacy, and usefulness.,
                       288.   Defendants made these representations to consumers, including Plaintiff’s
               minor decedent, in the marketing and advertising described herein. Defendants’ conduct
               in connection with TikTok was also impermissible and illegal in that it created a
               likelihood of confusion and misunderstanding, because the Defendants misleadingly,
               falsely and/or deceptively misrepresented and omitted numerous material facts
               regarding, among other things, the utility, benefits, safety, efficacy, and advantages of the
               platform.
                       289.   As a result of these violations of consumer protection laws, Plaintiff have
               incurred damage and other expenses, for which the Defendants are liable.
                       290.   As a direct and proximate result of the Defendants violation of consumer
               protection laws concerning TikTok, as described herein, Plaintiff suffered and continue
               to suffer from the damages for which they are entitled to recovery, including but not
               limited to compensatory damages, consequential damages, interest, costs, and attorneys’
               fees.
                                 AND AS FOR A NINTH CAUSE OF ACTION
                                             UNJUST ENRICHMENT
                                          (Against the TikTok Defendants)
                       291.   Plaintiffs reallege each of the allegations in the preceding paragraphs as if



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               fully set forth herein.
                         292.   As a result of Defendant TikTok’s conduct detailed herein, TikTok
               received significant benefits. Because TikTok’s advertising profits are directly tied to the
               number of user accounts and the amount of time those users spend on TikTok, it
               benefited directly from its engineered addiction and the harms it caused to Chase Nasca
               by selecting and sending him to accounts TikTok knew to be harmful, inappropriate,
               and/or in violation of its terms. TikTok benefited from the time Chase spent on its
               platform, which is why TikTok has failed to act despite knowing that its product is
               causing harm to minor users.
                         293.   It would be unjust and inequitable for Defendant TikTok to retain the ill-
               gotten benefits at Plaintiffs’ expense, in light of TikTok’s acts and omissions described
               herein.
                         294.   Accordingly, Plaintiffs seek damages in an amount to be proven at trial.
                                   AND AS FOR A TENTH CAUSE OF ACTION
                                               INVASION OF PRIVACY
                                           (Against the TikTok Defendants)
                         295.   Plaintiffs reallege each of the allegations in the preceding paragraphs as if
               fully set forth herein.
                         296.   TikTok intentionally intruded upon Plaintiffs’ solitude, seclusion, or
               private affairs by knowingly designing its TikTok product with features that were
               intended to, and did, frustrate parents’ ability to monitor and control their children’s
               social media usage.
                         297.   These intrusions are highly offensive to a reasonable person, particularly
               given TikTok’s interference with the fundamental right of parenting and its exploitation
               of children’s special vulnerabilities for commercial gain, as well as its failure to warn and
               active concealment of known harms.
                           298. Plaintiffs were harmed by Defendant TikTok’s invasion of privacy, as



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               detailed herein.
                      299.    Plaintiffs therefore seek compensatory and punitive damages in amounts
               to be determined at trial, as well as injunctive relief requiring Defendant TikTok to cease
               the harmful practices described throughout this Complaint.
                             AND AS FOR AN ELEVENTH CAUSE OF ACTION
                                   INFLICTION OF EMOTIONAL DISTRESS
                                         (Against the TikTok Defendants)
                      300.    Plaintiffs reallege each of the allegations in the preceding paragraphs as if
               fully set forth herein.
                      301.    The TikTok Defendants owed a duty to exercise reasonable care and
               caution for the safety of minors and young adults using the TikTok product, and
               breached its duty to exercise reasonable care through its negligent design of TikTok, its
               failure to warn users or their parents of any of the safety risks caused by use of TikTok,
               and its calculated cost-benefit decisions to not fix, restrict, or remove those dangerous
               product features and to not even act on instances of actual knowledge of the harms its
               product was causing.
                      302.    As a direct and proximate result of the TikTok Defendants’ negligence,
               Plaintiffs – the parents of Chase Nasca who died because of TikTok’s decisions, failures
               to warn, and refusals to act – suffered serious emotional distress. When a manufacturer
               targets minors and causes harm to them, the natural consequence of that is harm to their
               parents and/or guardians and immediate family. The TikTok Defendants not only
               manufactured and distributed a defective and inherently dangerous product, but it placed
               that product into Plaintiffs’ home, without their knowledge or consent and under false
               pretenses, targeting Chase Nasca in their own home despite the fact that they have actual
               knowledge of the harms they are causing.
                      303.    Defendant TikTok is further liable to Plaintiffs for punitive damages based
               upon its extreme departure from the ordinary standard of conduct and its reckless or



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               deliberate disregard for the wellbeing of minor users. TikTok’s actions are morally
               blameworthy, given its knowledge of how its product is designed and operated in the
               United States and that it is directing inherently violent, dangerous, and otherwise harmful
               content to American teens, teens who do not actually request or even want the content
               and connections TikTok has chosen for them, and its failure to make TikTok safer to
               avoid the harm to Plaintiffs that it knew it was causing. Punitive damages should be
               awarded to prevent future harm from Defendant’s negligence.
                      304.   At best, the TikTok Defendants chose to prioritize profits over children’s
               safety and health. At worst, they acted with actual knowledge that it was harming
               American minors and did so with intent. In either scenario, the TikTok Defendants’ s
               decisions were outrageous and justify an award of exemplary damages, in such a sum that
               will serve to deter Defendant TikTok and other social media companies from similar
               conduct in the future.
                                     AS AND FOR A TWELFTH CAUSE OF ACTION
                                             JOINT AND SEVERAL LIABILITY
                      305.   Plaintiffs repeat and reiterate the prior allegations of this complaint as if
               alleged more fully below:
                      306.       The limitations on liability set forth in NY Civ. Prac. L. Art. 16 §1601 do
               not apply because the following exemptions apply:
                      307.   Prior to the accident or occurrence on which the claim is based, plaintiffs
               and defendants entered into a written contract in which the defendant expressly agreed
               to indemnify the claimant for the type of loss suffered. See NY Civ. Prac. L. Art. 16
               §1602(2)(1)(a).
                      308.   Defendants are a public employee, and plaintiff is entitled to full
               indemnification pursuant to §50-k of the general municipal law or §§17, 18 of the public
               officer’s law. See NY Civ. Prac. L. Art. 16 §1602(1)(b).
                      309.   Plaintiffs have sustained “grave injury” as defined in §11 of the workers’



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               compensation law. See NY Civ. Prac. L. Art. 16 §1602(4).
                      310.    Plaintiff alleges a cause of action requiring proof of intent. See NY Civ.
               Prac. L. Art. 16 §1602(5).
                      311.    Defendants are liable by reason of his use, operation, or ownership of a
               motor vehicle or motorcycle, as those terms are defined respectively in §§ 311, 125 of
               the vehicle and traffic law. See NY Civ. Prac. L. Art. 16 §1602(6).
                      312.    Defendants acted with reckless disregard for the safety of others. See NY
               Civ. Prac. L. Art. 16 §1602(7).
                      313.    Plaintiffs alleges that defendants are liable for violations of article 10 of
               the labor law. See NY Civ. Prac. L. Art. 16 §1602(8).
                      314.    Defendant unlawfully released into the environment a substance
               hazardous to public health, safety or the environment, a substance acutely hazardous to
               public health, safety or the environment or a hazardous waste, as defined in articles 37
               and 27 of the environmental conservation law and in violation of article 71 of such law.
               See NY Civ. Prac. L. Art. 16 §1602(9).
                      315.    Plaintiff brings a products liability claim, the manufacturer of the product
               is not a party to the action and jurisdiction over the manufacturer could not with due
               diligence be obtained and that if the manufacturer were a party to the action, liability for
               claimant’s injury would have been imposed upon said manufacturer by reason of the
               doctrine of strict liability, to the extent of the equitable share of such manufacturer. See
               NY Civ. Prac. L. Art. 16 §1602(10).
                      316.    Defendants acted knowingly or intentionally, and in concert, to cause the
               acts or failures upon which liability is based. See NY Civ. Prac. L. Art. 16 §1602(11).
                      317.    Defendants have construed the article to create or enlarge actions for
               contribution or indemnity barred because of the applicability of the workers’
               compensation law of this state, any other state or the federal government, or section 18-
               201 of the general obligation law.



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                             AND AS FOR A THIRTEENTH CAUSE OF ACTION
                                                 FOR LOSS OF SERVICES
                     318.     Plaintiffs reallege each of the allegations in the preceding paragraphs as if
               fully set forth herein.
                      319.    That at all times hereinafter mentioned, the plaintiffs DEAN NASCA
               AND MICHELLE NASCA, were the parents and distributees, as defined by the
               E.P.T.L., of the decedent plaintiff, CHASE NASCA, and as such plaintiff, DEAN
               NASCA AND MICHELLE NASCA was entitled to the society and services of the
               decedent plaintiff, CHASE NASCA.
                     320.     By reason of the afore-described negligence of the defendants, the
               plaintiffs, DEAN NASCA AND MICHELLE NASCA, was deprived of the society and
               services of the decedent plaintiff, CHASE NASCA, and shall forever be deprived of said
               society and services.
                      321.    As a result of the afore-described negligence, the plaintiffs, DEAN
               NASCA AND MICHELLE NASCA has expended diverse sums of money in payment
               of the expenses incurred for funeral expenses, burial costs, medical care, treatment and
               hospitalization for the decedent plaintiff, CHASE NASCA.
                      322.    That as a result of the negligence of defendants as aforesaid, the plaintiffs,
               DEAN NASCA AND MICHELLE NASCA, as the Administrator of the Estate of
               CHASE NASCA, deceased, sustained damages in an amount exceeding the jurisdictional
               limits of all the lower courts.
                                            DEMAND FOR JURY TRIAL
                      Plaintiff hereby demands a trial by jury.
                                                 PRAYER FOR RELIEF
                      WHEREFORE, Plaintiff prays for judgment against all defendants for relief as
               follows:



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                      1.      Past physical and mental pain and suffering of Chase Nasca, in an amount
               to be more readily ascertained at the time and place set for trial;
                      2.      Loss of enjoyment of life, in an amount to be more readily ascertained at
               the time and place set for trial;
                      3.      Past and future impairment to capacity to perform everyday activities;
                      4.      Plaintiffs’ pecuniary loss and loss of Chase Nasca’s services, comfort, care,
               society, and companionship to Dean and Michelle Nasca;
                      5.      Loss of future income and earning capacity of Chase Nasca;
                      6.      Punitive damages;
                      7.      Injunctive relief, including, but not limited to, ordering Defendant TikTok
               to stop the harmful conduct alleged herein, remedy the unreasonably dangerous
               recommendation technologies in its social media products, and provide warnings to
               minor users and their parents that Defendant TikTok’s social media product is addictive
               and pose a clear and present danger to unsuspecting minors;
                      8.      Reasonable costs and attorney and expert/consultant fees incurred in
               prosecuting this action; and
                      9.      Such other and further relief as this Court deems just and equitable.
                      WHEREFORE, plaintiffs, DEAN NASCA AND MICHELLE NASCA, as the
               Administrator of the Estate of CHASE NASCA, and DEAN NASCA AND
               MICHELLE NASCA, Individually, demands judgment both compensatory and
               exemplary in an amount exceeding the jurisdictional limits of all lower Courts on all
               causes of action, together with attorney’s fees and the costs and disbursements of this
               action.
               Dated: New York, New York
                       March 21, 2023
                                                          BELLUCK & FOX, LLP
                                                          Harris Marks
                                                          hmarks@belluckfox.com
                                                          546 5th Avenue, 5th Floor
                                                          New York, New York 10036


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                                           Tel: (212) 681-1575
                                           Attorneys for Plaintiffs

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                                            (Pro Hac Vice admission pending)
                                            Attorneys for Plaintiffs




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                                          ATTORNEY VERIFICATION

               STATE OF NEW YORK )
                                 )
               COUNTY OF NEW YORK                   )

                       HARRIS MARKS, an attorney duly admitted to practice before the Courts of

               the State of New York, affirms the following to be true under the penalties of perjury:

                       I am the attorney for the Plaintiffs in the above entitled-action. I have read the

               foregoing VERIFIED COMPLAINT and know the contents thereof, and upon

               information and belief, affirmant believes after an inquiry reasonable under the

               circumstances the matters alleged herein to be true, and that the contentions herein are

               not frivolous, as that term is defined in part 130.

                       The reason this verification is made by affirmant and not by Plaintiffs is that the

               Plaintiffs herein resides in a County other than the County in which I maintain my

               offices.

                       The source of affirmant's information and the grounds of his belief are

               communications, papers, reports and investigations contained in the file maintained by

               this office.

               Dated: New York, New York
                      March 21, 2023
                                                                     BELLUCK & FOX, LLP



                                                                     Harris Marks
                                                                     Attorneys for Plaintiffs
                                                                     546 5th Avenue, 5th Floor
                                                                     New York, New York 10036
                                                                     Tel: (212) 681-1575


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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF SUFFOLK
          DEAN NASCA and MICHELLE NASCA, as
          Administrators of the Estate of CHASE NASCA,
                                                                         Index No.: 607250/2023
          DEAN NASCA, and MICHELLE NASCA,
          individually,
                                                                         NOTICE OF MOTION FOR
                              Plaintiffs,                                PRO HAC VICE ADMISSION OF
                                                                         MATTHEW P. BERGMAN, ESQ.
                  -against-

          BYTEDANCE LTD.; BYTEDANCE, INC.;
          TIKTOK, INC.; METROPOLITAN
          TRANSPORTATION AUTHORITY; MTA LONG
          ISLAND RAILROAD, LONG ISLAND
          RAILROAD and the TOWN OF ISLIP,

                              Defendants



                 PLEASE TAKE NOTICE, that upon the annexed affirmation of Harris Marks affirmed the

         22nd day of March, 2023, the affidavit of Matthew P. Bergman, Esq., sworn to on the 20th day of

         March, 2023, together with the Exhibits annexed thereto, the undersigned will move this Court, at

         the Courthouse located at 400 Carleton Avenue, Courtroom S-33, Central Islip, New York 11722

         on May 10, 2023 at 9:30 A.M. or as soon thereafter as counsel may be heard in support of the

         instant motion seeking an Order:

                 a)       PERMITTING the admission, pro hac vice, of Matthew P. Bergman to participate

         as counsel for the plaintiffs in all phases of the litigation of this matter, including trial; and

                 b)       AWARDING plaintiff such other and further relief as is just and proper under the

         circumstances.

                 Pursuant to CPLR§2214(b), answering affidavits, if any, are required to be served upon the

         undersigned at least seven (7) days before the return date of this motion.




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                Dated: New York, New York
                March 22, 2023
                                                            Yours, etc.,


                                                            _____________________________
                                                            HARRIS MARKS
                                                            BELLUCK & FOX LLP
                                                            Attorney for the Plaintiffs
                                                            546 Fifth Avenue, 5th Floor
                                                            New York, New York 10036
                                                            (212) 681-1575


         TO:

         DEFENDANTS

         (Addresses listed on Affidavit of Service)




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF SUFFOLK
                                                                     Index No.: 607250/2023
          DEAN NASCA and MICHELLE NASCA, as
          Administrators of the Estate of CHASE NASCA,
          DEAN NASCA, and MICHELLE NASCA,                            AFFIRMATION IN SUPPORT OF
          individually,                                              APPLICATION TO ADMIT
                                                                     MATTHEW P. BERGMAN, ESQ.,
                             Plaintiffs,
                                                                     PRO HAC VICE
                 -against-

          BYTEDANCE LTD.; BYTEDANCE, INC.;
          TIKTOK, INC.; METROPOLITAN
          TRANSPORTATION AUTHORITY; MTA LONG
          ISLAND RAILROAD, LONG ISLAND
          RAILROAD and the TOWN OF ISLIP,

                              Defendants.



                Harris Marks, an attorney duly admitted to practice before the Courts of the State of

         New York, affirms the following statements to be true under the penalties of perjury:

                1.      I am an attorney for Dean and Michelle Nasca (hereinafter “Plaintiffs”) in the

         above-captioned action.

                2.      I submit this affirmation pursuant to 22 NYCRR § 602.2, in support of the instant

         application on behalf of Plaintiff for admission pro hac vice of Matthew P. Bergman, Esq. to the

         Supreme Court of the State of New York for the purpose of assisting in the representation of

         Plaintiffs in the above-referenced action.

                3.      Matthew P. Bergman, Esq. is a licensed attorney and an active member in good

         standing in the State of Washington (Bar ID 20894) and in the State of Oregon (Bar ID 894335).

                4.      A copy of Mr. Bergman’s Affidavit in Support is attached hereto as “Exhibit A.”

                5.      A certificate of conformity for Mr. Bergman’s affidavit is attached hereto as

         “Exhibit B.”




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                6.      A copy of Mr. Bergman’s Certificate of Good Standing issued by the State Bar of

         Washington and Oregon is attached hereto as “Exhibit C.”

                7.      Annexed hereto as “Exhibit D” is a proposed order.

         WHEREFORE, it is respectfully requested that the Court sign the attached Order admitting John

         Matthew P. Bergman, Esq. pro hac vice to the Supreme Court of the State of New York for

         purposes of assisting in the representation of the Plaintiff.

         Dated: New York, New York
                March 22, 20213
                                                                Yours, etc.,


                                                                _____________________________
                                                                HARRIS MARKS
                                                                BELLUCK & FOX LLP
                                                                Attorney for the Plaintiffs
                                                                546 Fifth Avenue, 5th Floor
                                                                New York, New York 10036
                                                                (212) 681-1575




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                           EXHIBIT A
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF SUFFOLK
           DEAN NASCA and MICHELLE NASCA, as                           Index No.: 607250/2023
           Administrators of the Estate ofCHASE NASCA,
           DEAN NASCA, and MICHELLE NASCA,
           individually,                                               AFFIRMATION OF MATTHEW
                                                                       P.BERGMAN
                               Plaintiffs,

                   -against-

           BYTEDANCE LTD.; BYTEDANCE, INC.;
           TIKTOK, INC.; METROPOLITAN
           TRANSPORTATION AUTHORITY; MTA LONG
           ISLAND RAILROAD, LONG ISLAND
           RAILROAD and the TOWN OF ISLIP,

                               Defendants.



                 Matthew P. Bergman, an attorney duly admitted to practice before State ofWashington

          affirms the following statements to be true under the penalties ofperjury:

                 1.      I am an attorney at law and a member ofthe bar ofthe State ofWashington. I

         make this declaration in support ofmy application to appear in this action pro hac vice on behalf

         ofPlaintiffs Dean and Michelle Nasca. All ofthe matters stated herein are ofmy own personal

         knowledge and, if called as a witness, I would and could testify competently thereto.

                 2.      I am currently a resident ofthe State ofWashington. My business address is

         Social Media Victims Law Center PLLC, 821 Second A venue, Suite 2100, Seattle, WA 98104.

                 3.      I was admitted to practice law in all courts in the State ofWashington (199 l )(Bar

         ID 20894) in Washington and in all courts in the State ofOregon (1989)(Bar ID 894335) in

         Oregon.

                 4.      I am a member in good standing in the above-described Court(s). I am not

         currently, nor have I ever been, disciplined, suspended or disbarred from any court.
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                           5.              I am not           a resident        of    the      State         of New         York.        I am not      regularly      employed         in the


          State      of New              York,        nor     am I regularly              engaged             in    substantial           business,       or other      activities     in the


          State      of New              York.


                           6.              By this          application,            I request          pro     hac      vice     permission           from    the    Court       to appear      as


          co-counsel                on    behalf       of     Plaintiffs.


                           7.             Harris        Marks         (NY       Bar      No.     5017090)              of      Belluck       & Fox,       LLP.,      546     Fifth   Avenue,


          5th     floor,        New        York,        New        York       10036,          is the      existing          attorneys         of record       on this      matter     and


          shall     continue              to act      as co-counsel              in    this     matter.


                           Executed              on   March         20,     2023,      at Seattle,             Washington.



                           I declare         under          penalty         of perjury          that     the       following         is true     and     correct.




                                                 25

                                 O



         Sworn         to before            me on the
         20         day         of March,             2023




         Notary            Public
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                           EXHIBIT B
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF SUFFOLK
                                                                       Index No.: 607250/2023
          DEAN NASCA and MICHELLE NASCA, as
          Administrators of the Estate of CHASE NASCA,
                                                                       CERTIFICATE OF
          DEAN NASCA, and MICHELLE NASCA,                              CONFORMITY
          individually,

                              Plaintiffs,

                  -against-

          BYTEDANCE LTD.; BYTEDANCE, INC.;
          TIKTOK, INC.; METROPOLITAN
          TRANSPORTATION AUTHORITY; MTA LONG
          ISLAND RAILROAD, LONG ISLAND
          RAILROAD and the TOWN OF ISLIP,

                              Defendants.



                 Harris Marks, an attorney duly admitted to practice law before the courts of the
         State of New York, hereby affirms the following to be true:
                 1.     I am an associate with the law firm Belluck & Fox, LLP, located at 546 Fifth

         Avenue, 5th Floor, New York, New York 10036.

                 2.     I am an attorney duly admitted to practice law before the Courts of the State of New

         York.

                 3.     I am qualified to make this certificate of conformity pursuant to CPLR § 2309.

                 4.     I am fully acquainted with the laws of the State of Washington pertaining to the

         administration and taking of oaths and affirmations.

                 5.     The attached affidavit by Matthew P. Bergman, named in the foregoing instrument,

         taken before the State of Washington notary public, on March 20, 2023, was taken in the manner

         prescribed by the laws of the State of Washington.
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                6.      The oath conforms with the laws of Washington, and it is in all respects valid and

         effective in the State of Washington.

                7.      Accordingly the affidavit is admissible in New York in connection with the above-

         captioned action pursuant to the CPLR.



                In Witness Whereof, I have signed this certificate on March 22, 2023.




                                                             _____________________________
                                                             HARRIS MARKS
                                                             BELLUCK & FOX LLP
                                                             Attorney for the Plaintiffs
                                                             546 Fifth Avenue, 5th Floor
                                                             New York, New York 10036
                                                             (212) 681-1575
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                           EXHIBIT C
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               IN        THE        SUPREME                      COURT               OF          THE            STATE               OF        WASENGTON


                                                                                                           )
                    IN   THE      MATTER              OF   THE      ADMISSION                              )                                   BAR       NO.      20894

                                                                                                           )
                                                      OF                                                   )                                  CERTIFICATE
                                                                                                           )
                         MATTHEW                PHINEAS          BERGMAN                                   )                                              OF
                                                                                                           )
         TO PRACTICE                    IN    THE     COURTS           OF THIS       STATE                 )                             GOOD            STANDING
                                                                                                           )




                      I, Sarah     R. Pendleton,           Deputy       Clerk     of the    Supreme             Court      of the     State    of Washington,               hereby

        certify




                                                               MATTHEW               PHINEAS                   BERGMAN


        was       regularly      admitted        to practice     as an Attorney            and   Counselor              at Law      in the     Supreme           Court      and    all the


        Courts        of the   State         of Washington       on November               13, 1991,           and   is now       and has continuously                   since    that


        date      been    an attorney           in good    standing,         and has a current          status         of active.




                                                                                                 IN    TESTIMONY                    WHEREOF,                  I have
                                                                                                 hereunto            set my hand         and  affixed
                                                                                                                                                 902
                                                                                                 the    seal of this          Court     on the        day         of

                                                                                                 May,          2022.


                                                                                                       ®
                                    .                                    .

                                                                                                 Sarah         R. Pendleton
                                                                                                 Supreme             Court    Deputy          Clerk
                                                 Op
                                                                                                 Washington               State     Supreme           Court
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                            Certificate of Good Standing

         State of Oregon              )
                                      ) ss.
         County of Washington         )

                I, Troy Wood, do hereby certify that I am Regulatory Counsel of the Oregon State Bar, and
         have access to the official files and records of the Oregon State Bar.

                The official files and records of the Oregon State Bar indicate:

                                         MATTHEW BERGMAN, BAR NO. 894335

         was admitted to practice law in the State of Oregon by examination and became an active
         member of the Oregon State Bar on October 30, 1989.

              There are no grievances or disciplinary proceedings presently pending against this
         member.

               No disciplinary action has been taken against this member in the past by the Oregon
         Supreme Court or the Oregon Disciplinary Board.

                 Mr. Bergman is an active member of the Oregon State Bar in good standing, licensed and
         entitled to practice law in all the courts of the State of Oregon.

                DATED this 9th day of May, 2022.


                                                              ____________________________________
                                                              Troy Wood
                                                              Regulatory Counsel
                                                              Oregon State Bar




                16037 SW Upper Boones Ferry Road, PO Box 231935, Tigard, Oregon 97281-1935
                (503) 620-0222 toll-free in Oregon (800) 452-8260 fax (503) 684-1366                  ww.osbar.org
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                           EXHIBIT D
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF SUFFOLK
                                                                     Index No.: 607250/2023
          DEAN NASCA and MICHELLE NASCA, as
          Administrators of the Estate of CHASE NASCA,               Hon. ________________
          DEAN NASCA, and MICHELLE NASCA,
          individually,                                              DECISION & ORDER
                              Plaintiffs,

                  -against-

          BYTEDANCE LTD.; BYTEDANCE, INC.;
          TIKTOK, INC.; METROPOLITAN
          TRANSPORTATION AUTHORITY; MTA LONG
          ISLAND RAILROAD, LONG ISLAND
          RAILROAD and the TOWN OF ISLIP,

                              Defendants.



                 Plaintiffs’ motion for the pro hac vice admission for Matthew P. Bergman, Esq., an

         attorney licensed in the State of Washington, is granted without opposition and it is hereby:

                 ORDERED that Matthew P. Bergman, Esq. is permitted to appear and to participate in

         this action on behalf of plaintiff; and it is further

                 ORDERED that he shall at all times during this action be associated with counsel who is

         a member in good standing of the Bar of the State of New York and is attorney of record for the

         aforesaid party in question; and it is further

                 ORDERED that all pleadings, briefs and other papers filed with the court shall be signed

         by the attorney or record, who shall be responsible for such papers and for the conduct of this

         action; and it is further

                 ORDERED that, pursuant to 22 N.Y.C.R.R. §§520.11 and 602.2, the attorney hereby

         admitted pro hoc vice shall abide by the standards of professional conduct imposed by the

         members of the New York Bar, including the rules of the court governing the conduct of the
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         attorneys and the Rules of Professional Conduct; and it is further;

                   ORDERED that she shall be subject to jurisdiction of the courts of the State of New York

         with respect to any acts occurring during the course of his participation in this matter; and it is

         further

                   ORDERED that said counsel shall notify the court immediately of any matter or event in

         this or any other jurisdiction that affects his standing as a member of the bar.



                   The foregoing is the order of this court. A copy of this order has been sent to counsel for

         movant.




         Dated:           New York, New York
                          _____________, 2023




                                                                        _____________________________
                                                                        HON.                   , J.S.C.

         ENTER:
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                                                                               #: 122                                                                                        UCS-840
                                     REQUEST FOR JUDICIAL INTERVENTION                                                                                                  (rev. 02/01/2022)

                                                            Supreme COURT, COUNTY OF Suffolk

                           Index No:                        607250/2023                     Date Index Issued:                 03/22/2023                            For Court Use Only:

 CAPTION            Enter the complete case caption. Do not use et al or et ano. If more space is needed, attach a caption rider sheet.                                 IAS Entry Date

  Dean Nasca as Administrators of the Estate of CHASE NASCA, MICHELLE NASCA as Administrators of the Estate of
  CHASE NASCA, DEAN NASCA individually, MICHELLE NASCA INDIVIDUALLY
                                                                                                                                                                       Judge Assigned
                                                                                                                                        Plaintiff(s)/Petitioner(s)
 -against-

  BYTEDANCE LTD., BYTEDANCE, INC., TIKTOK, INC., METROPOLITAN TRANSPORTATION AUTHORITY, MTA LONG
                                                                                                                                                                        RJI Filed Date
  ISLAND RAILROAD, LONG ISLAND RAILROAD, the TOWN OF ISLIP


                                                                                                                                    Defendant(s)/Respondent(s)
 NATURE OF ACTION OR PROCEEDING:                               Check only one box and specify where indicated.
 COMMERCIAL                                                                               MATRIMONIAL
  ☐ Business Entity (includes corporations, partnerships, LLCs, LLPs, etc.)                      ☐ Contested
  ☐ Contract                                                                                         NOTE: If there are children under the age of 18, complete and attach the
                                                                                                     MATRIMONIAL RJI Addendum (UCS-840M).
  ☐ Insurance (where insurance company is a party, except arbitration)
  ☐ UCC (includes sales and negotiable instruments)                                                  For Uncontested Matrimonial actions, use the Uncontested Divorce RJI (UD-13).

  ☐ Other Commercial (specify):                                                                 REAL PROPERTY Specify how many properties the application includes:
 NOTE: For Commercial Division assignment requests pursuant to 22 NYCRR 202.70(d),               ☐ Condemnation
 complete and attach the COMMERCIAL DIVISION RJI ADDENDUM (UCS-840C).
                                                                                                 ☐ Mortgage Foreclosure (specify): ☐ Residential                     ☐ Commercial
 TORTS                                                                                               Property Address:
  ☐ Adult Survivors Act                                                                              NOTE: For Mortgage Foreclosure actions involving a one to four-family, owner-
  ☒ Asbestos                                                                                         occupied residential property or owner-occupied condominium, complete and
                                                                                                     attach the FORECLOSURE RJI ADDENDUM (UCS-840F).
  ☐ Environmental (specify):
  ☐ Medical, Dental or Podiatric Malpractice                                                     ☐ Partition
  ☐ Motor Vehicle                                                                                    NOTE: Complete and attach the PARTITION RJI ADDENDUM (UCS-840P).
  ☐ Products Liability (specify):                                                                ☐ Tax Certiorari (specify): Section:                  Block:              Lot:
  ☐ Other Negligence (specify):                                                                  ☐ Tax Foreclosure
  ☐ Other Professional Malpractice (specify):                                                    ☐ Other Real Property (specify):
  ☐ Other Tort (specify):                                                                       OTHER MATTERS
 SPECIAL PROCEEDINGS                                                                             ☐ Certificate of Incorporation/Dissolution [see NOTE in COMMERCIAL section]
  ☐ Child-Parent Security Act (specify): ☐ Assisted Reproduction ☐ Surrogacy Agreement           ☐ Emergency Medical Treatment
  ☐ CPLR Article 75 - Arbitration [see NOTE in COMMERCIAL section]                               ☐ Habeas Corpus
  ☐ CPLR Article 78 - Proceeding against a Body or Officer                                       ☐ Local Court Appeal
  ☐ Election Law                                                                                 ☐ Mechanic's Lien
  ☐ Extreme Risk Protection Order                                                                ☐ Name Change/Sex Designation Change
  ☐ MHL Article 9.60 - Kendra's Law                                                              ☐ Pistol Permit Revocation Hearing
  ☐ MHL Article 10 - Sex Offender Confinement (specify):     ☐ Initial ☐ Review                  ☐ Sale or Finance of Religious/Not-for-Profit Property
  ☐ MHL Article 81 (Guardianship)                                                                ☐ Other (specify):
  ☐ Other Mental Hygiene (specify):
  ☐ Other Special Proceeding (specify):
 STATUS OF ACTION OR PROCEEDING                             Answer YES or NO for every question and enter additional information where indicated.
                                                                                    YES NO
     Has a summons and complaint or summons with notice been filed?                   ☒     ☐                If yes, date filed:            03/21/2023

     Has a summons and complaint or summons with notice been served?                  ☐     ☒                If yes, date served:

     Is this action/proceeding being filed post-judgment?                             ☐     ☒                If yes, judgment date:

 NATURE OF JUDICIAL INTERVENTION                            Check one box only and enter additional information where indicated.
 ☐ Infant's Compromise
 ☐ Extreme Risk Protection Order Application
 ☐ Note of Issue/Certificate of Readiness
 ☐ Notice of Medical, Dental or Podiatric Malpractice   Date Issue Joined:

 ☒ Notice of Motion                                     Relief Requested:        Pro Hac Vice                                                          Return Date:

 ☐ Notice of Petition                                   Relief Requested:                                                                              Return Date:

 ☐ Order to Show Cause                                  Relief Requested:                                                                              Return Date:

 ☐ Other Ex Parte Application                           Relief Requested:

 ☐ Partition Settlement Conference
 ☐ Poor Person Application
 ☐ Request for Preliminary Conference
 ☐ Residential Mortgage Foreclosure Settlement Conference
 ☐ Writ of Habeas Corpus
 ☐ Other (specify):



                                                                                      1 of 2
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 RELATED CASES               List any related actions. For Matrimonial cases, list any related criminal or Family Court cases. If none, leave blank.
                             If additional space is required, complete and attach the RJI Addendum (UCS-840A).
 Case Title                         Index/Case Number                Court                              Judge (if assigned)                 Relationship to instant case




 PARTIES                     For parties without an attorney, check the "Un-Rep" box and enter the party's address, phone number and email in the space
                             provided. If additional space is required, complete and attach the RJI Addendum (UCS-840A).

  Un-    Parties                                        Attorneys and Unrepresented Litigants                                         Issue Joined            Insurance Carriers
  Rep    List parties in same order as listed in the    For represented parties, provide attorney's name, firm name, address, phone   For each defendant,     For each defendant,
         caption and indicate roles (e.g., plaintiff,   and email. For unrepresented parties, provide party's address, phone and      indicate if issue has   indicate insurance
         defendant, 3rd party plaintiff, etc.)          email.                                                                        been joined.            carrier, if applicable.

        Name: Nasca, Dean                               HARRIS MARKS, Belluck & Fox LLP, 546 Fifth Avenue, 5th
  ☐                                                     Floor , New York, NY 10036, 212-681-1575,                                     ☒ YES ☐ NO
        Role(s): Plaintiff/Petitioner                   hmarks@belluckfox.com

        Name: NASCA, MICHELLE                           Harris Marks, Belluck & Fox, 546 5th Avenue, 5th Floor,
  ☐                                                     New York, NY 10036, 2126811575,                                               ☒ YES ☐ NO
        Role(s): Plaintiff/Petitioner                   abelenkaya@belluckfox.com

        Name: DEAN NASCA                                HARRIS MARKS, Belluck & Fox LLP, 546 Fifth Avenue, 5th
  ☐                                                     Floor , New York, NY 10036, 212-681-1575,                                     ☒ YES ☐ NO
        Role(s): Plaintiff/Petitioner                   hmarks@belluckfox.com

        Name: NASCA, MICHELLE                           Harris Marks, Belluck & Fox, 546 5th Avenue, 5th Floor,
  ☐                                                     New York, NY 10036                                                            ☒ YES ☐ NO
        Role(s): Plaintiff/Petitioner

        Name: BYTEDANCE LTD.                            5800 Bristol Parkway, Suite 100, Culver City, CA 90230
  ☒                                                                                                                                   ☐ YES ☒ NO
        Role(s): Defendant/Respondent

        Name: BYTEDANCE, INC.                           C/O Corporation Service Co., 80 State Street, Albany, NY
  ☒                                                     12207                                                                         ☐ YES ☒ NO
        Role(s): Defendant/Respondent

        Name: TIKTOK, INC.                              5800 Bristol Parkway, Suite 100, Culver City, CA 90230
  ☒                                                                                                                                   ☐ YES ☒ NO
        Role(s): Defendant/Respondent

        Name: METROPOLITAN                              2 Broadway, New York, NY 10017
  ☒     TRANSPORTATION AUTHORITY
                                                                                                                                      ☐ YES ☒ NO
        Role(s): Defendant/Respondent

        Name: MTA LONG ISLAND                           Jamaica Station, Jamaica, NY 11435
  ☒     RAILROAD
                                                                                                                                      ☐ YES ☒ NO
        Role(s): Defendant/Respondent

        Name: LONG ISLAND RAILROAD                      Jamaica Station, Jamaica, NY 11435
  ☒                                                                                                                                   ☐ YES ☒ NO
        Role(s): Defendant/Respondent


   I AFFIRM UNDER THE PENALTY OF PERJURY THAT, UPON INFORMATION AND BELIEF, THERE ARE NO OTHER RELATED ACTIONS OR
     PROCEEDINGS, EXCEPT AS NOTED ABOVE, NOR HAS A REQUEST FOR JUDICIAL INTERVENTION BEEN PREVIOUSLY FILED IN THIS
                                                ACTION OR PROCEEDING.

   Dated:      03/22/2023                                                                                              HARRIS LEE MARKS
                                                                                                                               Signature

                                        5017090                                                                        HARRIS LEE MARKS
                         Attorney Registration Number                                                                         Print Name
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                                                                                   2 of 2
FILED: SUFFOLK COUNTY CLERK 03/22/2023 11:58 AM                                                                                                      INDEX NO. 607250/2023
       Case NO.
NYSCEF DOC. 2:24-cv-02061-NGG-JMW
                9                                Document 1-1 Filed 03/20/24 Page 114 of NYSCEF:
                                                                               RECEIVED  115 PageID
                                                                                                 03/22/2023
                                 Request for Judicial Intervention Addendum
                                                         #: 124
                                                                                                                                                                   UCS-840A (7/2012)


 Supreme COURT, COUNTY OF Suffolk                                                                                                        Index No: 607250/2023
 For use when additional space is needed to provide party or related case information.

 PARTIES:      For parties without an attorney, check "Un-Rep" box AND enter party address, phone number and e-mail address in "Attorneys" space.

  Un-   Parties                                           Attorneys and Unrepresented Litigants                                            Issue Joined            Insurance Carriers
  Rep    List parties in same order as listed in the      For represented parties, provide attorney's name, firm name, address, phone      For each defendant,      For each defendant,
         caption and indicate roles (e.g., plaintiff,     and email. For unrepresented parties, provide party's address, phone and         indicate if issue has    indicate insurance
         defendant, 3rd party plaintiff, etc.)            email.                                                                           been joined.             carrier, if applicable.

        Name: the TOWN OF ISLIP
  ☒                                                       655 Main Street, Islip, NY 11751
                                                                                                                                           ☐ YES ☒ NO
                                                                                                                                                                   New York

        Role(s): Defendant/Respondent



 RELATED CASES:              List any related actions. For Matrimonial actions, include any related criminal and/or Famiy Court cases.




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                                                                                                        05/16/2023
                                                  #: 125



         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF SUFFOLK



          DEAN NASCA and MICHELLE NASCA, as                Index No. 607250/2023
          Administrators of the Estate of CHASE
          NASCA, DEAN NASCA, and MICHELLE
          NASCA, individually,

                Plaintiffs,

          v.

          BYTEDANCE LTD.; BYTEDANCE INC.;
          TIKTOK INC.; METROPOLITAN
          TRANSPORTATION AUTHORITY; MTA
          LONG ISLAND RAILROAD; LONG
          ISLAND RAILROAD; and the TOWN OF
          ISLIP,

                Defendants.



                   NOTICE TO STATE COURT OF FILING NOTICE OF REMOVAL

                PLEASE TAKE NOTICE the Defendants ByteDance Inc. and TikTok Inc. filed a notice

         of removal in the United States District Court for the Eastern District of New York. Attached as

         Exhibit A is a copy of that notice of removal.

         Dated: April 13, 2023                            Respectfully submitted,

                                                          /s/ Kristen Fournier

                                                          KING & SPALDING LLP
                                                          Kristen R. Fournier
                                                          1185 Avenue of the Americas, 34th Floor
                                                          New York, NY 10036-2601
                                                          Telephone: + 1 (212) 556 2100
                                                          Facsimile: + 1 (212) 556 2222

                                                          Attorney for Defendants ByteDance Inc. and
                                                          TikTok Inc.




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